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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


  Civil Case No. 14-cv-03074-CMA-CBS

  JOHANA PAOLA BELTRAN;
  LUSAPHO HLATSHANENI;
  BEAUDETTE DEETLEFS;
  DAYANNA PAOLA CARDENAS CAICEDO;
  ALEXANDRA IVETTE GONZÁLEZ;
  SARAH CAROLINA AZUELA RASCON;
  LAURA MEJIA JIMENEZ;
  JULIANE HARNING;
  NICOLE MAPLEDORAM;
  and those similarly situated

        Plaintiffs,
  v.

  INTEREXCHANGE, INC.;
  USAUPAIR, INC.;
  GREATAUPAIR, LLC;
  EXPERT GROUP INTERNATIONAL INC., DBA EXPERT AUPAIR;
  EURAUPAIR INTERCULTURAL CHILD CARE PROGRAMS;
  CULTURAL HOMESTAY INTERNATIONAL;
  CULTURAL CARE, INC. D/B/A CULTURAL CARE AU PAIR;
  AUPAIRCARE INC.;
  AU PAIR INTERNATIONAL, INC.;
  APF GLOBAL EXCHANGE, NFP, DBA AUPAIR FOUNDATION;
  AMERICAN INSTITUTE FOR FOREIGN STUDY DBA AU PAIR IN AMERICA;
  ASSOCIATES IN CULTURAL EXCHANGE DBA GOAUPAIR;
  AMERICAN CULTURAL EXCHANGE, LLC, DBA GOAUPAIR;
  GOAUPAIR OPERATIONS, LLC, DBA GOAUPAIR;
  AGENT AU PAIR;
  A.P.EX. AMERICAN PROFESSIONAL EXCHANGE, LLC DBA PROAUPAIR; and
  20/20 CARE EXCHANGE, INC. DBA THE INTERNATIONAL AU PAIR EXCHANGE

        Defendants.


                       SECOND AMENDED COMPLAINT

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         Comes now, the above-named Plaintiffs, on behalf of themselves and those

  similarly situated, with the following First Amended Complaint alleging as follows:

         This amendment is by right pursuant to F.R.C.P. 15(a)(1)(B).

                                INTRODUCTORY STATEMENT

  1.        Congress initially created the J-1 visa program to facilitate cultural exchange

  between nations, but, over time, the au pair program devolved into a source of cheap,

  migrant labor. Today, the au pair program recruits young, foreign workers, often with

  limited English skills, to provide 45 hours of child care per week to American families at

  a below-market rate. That rate of $4.35 per hour has been illegally set through a price

  fixing conspiracy, and is so low that it also violates Federal and State minimum wage

  laws. The lies told to attract labor at these illegal rates violate racketeering, tort, and

  consumer protection laws.

  2.        The au pair program, initially administered by the United States Information

  Agency (“USIA”), which merged with the State Department in 1999, is managed through

  fifteen sponsor organizations. The State Department designates these sponsors and

  charges them with recruiting and placing au pairs with American families. Given full

  control of the au pair labor market, designated sponsors have illegally conspired not to

  compete on wage terms in au pair recruitment by colluding to set au pair compensation

  far below the market rate for other workers in the same industry.

  3.        The history of the au pair program is a history of sponsor abuse. At its outset,

  the sponsors manipulated the program by fixing au pair wages at prices below federal

  and state minimum wage. The head of the USIA thus appropriately bemoaned that,


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  “unfortunately,” the sponsors “have a cartel.” And an early report on the program by the

  congressional watchdog agency included harsh criticism and demanded that au pairs

  receive their full rights as employees for their “full-time child care work.” The U.S.

  Department of Labor agreed that au pairs were entitled to the full rights of employees.

  4.        The government agencies overseeing sponsors’ participation in the J-1 visa

  program have taken extra steps to protect au pairs from some of the most egregious

  abuses by sponsors. While reminding sponsors that au pairs, like other employees, are

  fully protected by labor laws, including federal minimum wage laws, the government

  added yet another safeguard – an absolute programmatic wage floor that the sponsors

  were required to verify with the host families. This additional layer of protection would at

  least cause sponsors to recognize that what they euphemistically called “pocket money”

  was actually a wage, subject to the Fair Labor Standards Act and state labor laws. The

  State Department website specifically advises J-1 visa holders like au pairs, of their

  right to federal minimum wage at $7.25 per hour and to “check [t]he minimum wage for

  the state in which you work. If that wage is higher, you have the right to be paid the

  higher amount.”

  5.        The sponsors quickly turned the government’s effort to protect au pairs on its

  head. They agreed amongst themselves that, with few exceptions, each sponsor would

  place au pairs with host families at a wage pegged to the programmatic wage floor, and

  no greater. The au pair program has thus developed into a cartel setting uniform wages

  at $195.75 a week, i.e., just $4.35 per hour. Perversely, the sponsors are using the




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  government’s additional protection for au pairs as an excuse to fix the market for au pair

  labor to artificially depress au pair wages.

  6.        To make matters worse, the sponsors cite the government’s programmatic

  wage floor as a reason to ignore federal and state minimum wage laws. But compliance

  with the programmatic wage floor is no guarantee of compliance with minimum wage

  laws. Indeed, the federal regulations and guidance governing sponsors explicitly

  recognize the supremacy of federal and state minimum wage laws over the

  programmatic minimum. Au pairs are not carved out of minimum wage laws. Thus, the

  programmatic wage floor does not mean au pairs can be paid less than the federal and

  state minimum wage guaranteed to other employees providing the same services in

  similar circumstances. Yet, the sponsors have cheated au pairs out of even minimum

  wage by treating the programmatic wage floor as if it were the only protection for au

  pairs, rather than an additional protection.

  7.        At the same time, the sponsors extract premiums from families seeking

  affordable childcare with the sales pitch that even with significant sponsor fees, au pairs

  are significantly cheaper than other childcare options available in the United States.

  8.        Many of the sponsors go to great lengths to deceive the young workers into

  believing that the wage floor is not just a minimum, but also a maximum above which au

  pairs may not negotiate. These lies not only deprive au pairs of market wages, but also

  intentionally confuse them about their rights.

  9.        Many au pairs are lucky to join great families and have exceptional

  experiences, but the situation is ripe for exploitation by unscrupulous employers. As


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  Professor Janie Chuang noted in her groundbreaking study in the Harvard Journal of

  Law and Gender, the “‘cultural exchange’ subterfuge has created an underclass of

  migrant domestic workers conceptually and structurally removed from the application of

  labor standards and the scrutiny of labor institutions.” In an extreme case, four young

  women recruited by Au Pair in America became sex trafficking victims, and U.S. District

  Judge Robert Gentlemen excoriated the sponsor because it “basically cut them loose.”

  The revenue-seeking sponsor agencies fiercely compete for host families and au pairs,

  and have agreed to set the price for labor at a fixed low rate in order to increase the

  competitiveness of their captured labor compared to the dynamic domestic market.

  Many of the Defendants explicitly advertise on the internet that their labor costs are set

  far lower than those of their domestic labor competitors. The result suppresses au pair

  wages to the benefit of the sponsors and host family employers and to the detriment of

  the young visiting workers.

  10.       Often tucked away in homes in scattered communities, and with limited

  language skills, au pairs, while technically protected by U.S. and state labor laws, can

  be afraid and usually lack the knowledge and ability to assert their rights. The named

  Plaintiffs, like other au pair J-1 visa holders, suffered greatly diminished wages from the

  price fixing scheme. They are also classic examples of the extreme suffering this

  program brings when the “sponsors” fail in their obligations to protect these vulnerable

  workers from exploitative host families.

  11.       The named Plaintiffs were recruited in their home countries – Colombia,

  Australia, Mexico, Germany, and South Africa – by agents of sponsors. After being


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  accepted into au pair programs, the sponsors matched the plaintiffs with families, but

  kept substantial control and responsibility over their work and pay. While legally

  obligated to protect their interests, the sponsors set an illegal wage term in the

  employment agreements. When the named Plaintiffs flew to the United States, all but

  one of their sponsors directed them to attend unpaid training sessions in New York,

  New Jersey, and Florida before they could begin work. The wages paid the named

  Plaintiffs on their face violate Federal law and state law.

  12.        The named Plaintiffs’ relationships with their sponsors are typical of the

  experience of all au pairs. The sponsors, under the guise of State Department

  approval, trade the services of working people as if they were merely commodities

  without the ability to demand higher wages. But even the sellers of commodities cannot

  collude to fix an illegal price.

                                     NATURE OF THE ACTION

  13.        In this action, the named Plaintiffs and those similarly situated seek treble

  damages, injunctive relief, and other relief from all of the program sponsors for violating

  state and federal antitrust laws, including Section 1 of the Sherman Act, by fixing au pair

  wages.

  14.        The named Plaintiffs, on behalf of themselves and those similarly situated,

  bring additional claims against sponsors (1) InterExchange, Inc. (“InterExchange”), (2)

  Cultural Care, Inc. d/b/a Cultural Care Au pair (“Cultural Care”), (3) American Institute

  For Foreign Study dba Au Pair in America (“Au Pair in America”), (4) GoAuPair

  Operations LLC dba GoAuPair aka Associates in Cultural Exchange dba GoAuPair fka


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  American Cultural Exchange, LLC, dba goAuPair (together, “GoAuPair”), (5)

  AuPairCare Inc., (“AuPairCare”) and (6) Expert Group International Inc. dba Expert

  Aupair (“Expert Au Pair”) for violations of the Racketeering Influenced and Corrupt

  Organizations Act (“RICO”), breach of fiduciary duty, negligent misrepresentation,

  constructive fraud, and the violation of state consumer protection laws, based on these

  Defendants’ conduct in deceiving au pairs and prospective au pairs to secure au pair

  employment at an illegal, fixed wage.

  15.       In addition, the named Plaintiffs and those similarly situated bring claims

  under the Fair Labor Standards Act (“FLSA”) and state wage laws against

  InterExchange, Cultural Care, Au Pair in America, GoAuPair, AuPairCare and Expert Au

  Pair for failing to pay wages and compensation in accordance with applicable state and

  federal laws.

                                JURISDICTION AND VENUE

  16.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 and

  supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Plaintiffs’ related state law

  claims.

  17.       Venue is proper pursuant to 28 U.S.C. § 1391. All of the sponsors are

  alleged to have entered into a conspiracy that affected Mmes. Beltran and Mapledoram

  and similarly situated au pairs in the District of Colorado. Further, the four sponsors

  named in claims other than the anti-trust claim reside in, do business in, and can sue or

  be sued in the District of Colorado. Upon information and belief, other sponsors

  defendants sponsor au pairs in Colorado as well.


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                                           PARTIES

  18.       Named Plaintiff Johana Paola Beltran is a natural person who currently

  resides in New Jersey but who performed most of the service contract at issue in this

  Complaint in Colorado.

  19.       Named Plaintiff Lusapho Hlatshaneni is a natural person who currently

  resides in Cape Town, South Africa but who performed most of the service contract at

  issue in this Complaint in California.

  20.       Named Plaintiff Beaudette Deetlefs is a natural person who currently resides

  in Cape Town, South Africa but who performed most of the service contract at issue in

  this Complaint in Utah.

  21.       Named Plaintiff Dayanna Paola Cardenas Caicedo is a natural person who

  currently resides in Pennsylvania.

  22.       Named Plaintiff Alexandra Ivette Gonzalez is a natural person who currently

  resides in Colombia.

  23.       Named Plaintiff Sarah Carolina Azuela Rascon is a natural person who

  currently resides in Wisconsin but who performed most of the service contract at issue

  in this Complaint in Massachusetts, Maryland, and Virginia.

  24.       Named Plaintiff Laura Mejia Jimenez is a natural person who currently

  resides in New Zealand but who performed most of the service contract at issue in this

  Complaint in Pennsylvania.




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  25.         Named Plaintiff Juliane Harning is a natural person who currently resides in

  Germany but who performed most of the service contract at issue in this Complaint in

  Virginia.

  26.         Named Plaintiff Nicole Mapledoram is a natural person who currently resides

  in Australia but who performed most of the service contract at issue in this Complaint in

  Colorado.

  27.         Defendant InterExchange, Inc. is a business entity at 161 Sixth Avenue, New

  York, New York 10013.

  28.         Defendant USAuPair, Inc. is a business entity at 252 ‘A’ Avenue, Suite 100,

  Lake Oswego, Oregon 97034.

  29.         Defendant GreatAuPair, LLC is a business entity at 6836 Bee Caves Road,

  Suite 222, Austin, Texas 78746.

  30.         Defendant Expert Group International Inc., dba Expert AuPair is a business

  entity at 111 Second Avenue NE, Suite 213, St. Petersburg, Florida 33701.

  31.         Defendant EurAuPair is a business entity at 250 North Coast Highway,

  Laguna Beach, California 92651.

  32.         Defendant Cultural Homestay International is a business entity at 104

  Butterfield Road, San Anselmo, California, 94960.

  33.         Defendant Cultural Care, Inc. d/b/a Cultural Care Au pair is a business entity

  at 8 Education Street, Cambridge, Massachusetts 02141.

  34.         Defendant AuPairCare Inc. is a business entity at 600 California Street, Floor

  10, San Francisco, California 94108.


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   35.       Defendant Au pair International, Inc. is a business entity at 4450 Arapahoe

   Avenue, Suite 100, Boulder, Colorado 80303.

   36.       Defendant APF Global Exchange dba AuPair Foundation is a business entity

   at 205 Keller Street, Suite 204, Petaluma, California 94952.

   37.       Defendant American Institute For Foreign Study dba Au Pair in America

   (hereinafter, “Au Pair in America”) is a business entity at 1 High Ridge Park, Stamford,

   Connecticut 06905.

   38.       Defendant Associates in Cultural Exchange dba GoAuPair is a business

   entity at 200 West Mercer Street, Seattle, Washington 98119. It is a successor of

   Defendant American Cultural Exchange, LLC.

   39.       Defendant American Cultural Exchange, LLC, dba GoAuPair is a business

   entity at 151 East 6100 South, Suite 200, Murray, Utah 84107. It is a predecessor of

   Associates in Cultural Exchange.

   40.       Defendant GoAuPair Operations LLC dba GoAuPair is an affiliate or

   successor of Associates in Cultural Exchange, dba GoAuPair, which is a successor of

   American Cultural Exchange, LLC, dba GoAuPair, and they shall hereinafter collectively

   be referred to as “GoAuPair.”

   41.       Defendant Agent Au Pair is a business entity at 1450 Sutter Street #526, San

   Francisco, California 94109.

   42.       Defendant A.P.EX. American Professional Exchange, LLC dba ProAuPair is a

   business entity at 433 Calle Familia, San Clemente, California 92672.




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       43.       Defendant 20/20 Care Exchange, Inc. dba The International Au pair

       Exchange is a business entity at 1250 Newell Avenue, Walnut Creek, California 94597.

       44.       All Defendants shall hereinafter be referred to collectively as the “Sponsors”

       or the “Sponsor Defendants.”

                                      STATEMENT OF FACTS

  I.          Background

         A.     The J-1 Visa Au Pair Program

       45.       The Sponsor Defendants control all au pair employment opportunities

       throughout the United States for foreign nationals seeking au pair employment.

       46.       Au pair employment for foreign nationals is made possible through the J-1

       visa au pair program. The J-1 visa au pair program is one of several official J-1 visa

       “cultural exchange” programs overseen and administered by the U.S. Department of

       State (“State Department”). J-1 visa programs, including the J-1 visa au pair program,

       are carried out under the purported authority of the Mutual Educational and Cultural

       Exchange Act of 1961, as amended.

       47.       The J-1 visa au pair program allows foreign nationals between the ages of 18

       and 26, with secondary school educations and English proficiency, to work for “host

       families” as child care workers for no more than 45 hours a week in exchange for room

       and board and a legal wage.

       48.       The State Department facilitates J-1 visa programs by designating entities to

       act as sponsors. The Sponsor Defendants comprise all of the currently designated

       State Department sponsors for the J-1 visa au pair program.


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   49.       The Sponsors are the exclusive entities authorized to recruit and place au

   pairs with host families in the United States. Under State Department regulations, the

   Sponsors may not place an au pair with a host family unless the host family and the au

   pair have executed a written agreement detailing the au pair’s job description,

   consistent with the rules of the au pair program and labor laws. Any foreign national

   seeking a position as an au pair in the United States must be sponsored by one of the

   State Department-designated sponsors.

   50.       The Sponsors are a mix of for-profit and non-profit entities that generate

   significant revenue from the program fees paid by host families and au pairs. These

   companies have tens of millions of dollars in annual revenue from fee-paying families.

   In 2013, a single sponsor reported holding assets in excess of $30 million.

   51.       State Department regulations mandate that Sponsors ensure that au pairs are

   compensated in compliance with labor laws and do not work beyond specified limits.

   Under these rules, Sponsors must limit the number of hours an au pair works to not

   more than 10 hours per day and not more than 45 hours per week. They must also

   ensure that au pairs receive a minimum of one and a half days off per week, plus one

   complete weekend off every month, as well as an additional two weeks of paid vacation.

   In addition, the Sponsors must ensure that au pairs are compensated at a weekly rate in

   conformance with the requirements of the FLSA as interpreted by the Department of

   Labor.

     B.     Historical Labor Abuses in the Au Pair Program




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   52.        Sponsors, and those organizations that previously served as sponsors, have

   long abused their control of the market for foreign au pair labor. They have used their

   market power, as the sole entities authorized to bring such labor into this country, to fix

   artificially and illegally low wages for au pairs.

              1.     The Program Began with a Price-Fixing Cartel that Paid Illegal
                     Wages in Contravention of Federal and State Labor Laws.

   53.        The J-1 visa au pair program began in the United States with two pilot

   programs administered by the United States Information Agency (“USIA”) in January

   and April of 1986.

   54.        The initial program sponsors adopted an au pair labor concept that had

   evolved outside the United States, in a context where federal and state labor laws were

   inapplicable. In particular, the initial program sponsors looked to European au pair

   relationships, where a young woman would participate in the family life of a host family

   while serving as a “mother’s helper.” This European model was based on an au pair

   providing 30 hours of service per week, with the payment of a token weekly stipend or

   pocket money.

   55.        The early au pair sponsors in the United States adapted the European au pair

   concept, without regard for U.S. domestic labor and antitrust laws. Their program

   required au pairs to work 45 hours a week, rather than 30 hours, and to provide child

   care services to host families.

   56.        The initial sponsors fixed illegal wages at the very outset of the program.

   Specifically, the au pair program developed by the early sponsors dictated a set

   payment of one hundred dollars ($100) per week for 45 hours of child care service.

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   57.       Even with this paltry compensation, sponsors and host families ignored the

   45-hour limitation.

             2.       The Program Came Under Nearly Immediate Scrutiny for Early
                      Sponsors’ Abuses.

   58.       On February 5, 1990, the General Accounting Office (“GAO”) issued a report

   titled “Inappropriate Uses of Educational and Cultural Exchange Visas” (the “GAO

   Report”), which sharply criticized the au pair program.

   59.       The GAO Report stated that the USIA (which at that point still oversaw and

   administered the au pair program), along with the State Department, the Immigration

   and Naturalization Service (“INS”), and the U.S. Department of Labor (“USDOL” or

   “Department of Labor”), all concurred that the au pair program was, in fact, a “full-time

   child care work” program.

   60.       As noted in the GAO Report, the Department of Labor informed the GAO that

   au pairs working 40 or more hours a week were full-time employees and needed to be

   treated as such.

             3.       The Government Issued Rules to Require Sponsors to Protect Au
                      Pairs’ Rights As Employees.

   61.       In December 1994, the USIA conducted a formal rulemaking to issue a rule

   recognizing au pairs’ status as employees under the FLSA. The USIA issued the

   rulemaking in the wake of the GAO Report and in direct consultation with the

   Department of Labor, which reiterated its longstanding conclusion that J-1 visa au pair

   participants were full-time employees, entitled to the protections afforded all employees

   under domestic labor laws, including the FLSA.


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   62.       The USIA issued a final rule in February 1995. In the preamble to the final

   rule, the USIA restated its conclusion that au pairs are employees: “The Agency has . .

   . sought the views and guidance of the Department of Labor on this matter. The

   Department of Labor has specifically advised the Agency that an employment

   relationship is established.”

   63.       The USIA also recognized the authority of the Department of Labor on this

   point: “Because the Department of Labor is the Federal agency entrusted with

   regulating labor laws, including the definition of employer and employee and

   determining when an employment relationship is established, it is appropriate to defer to

   the Department of Labor in this area.”

             4.      The Government Created a Programmatic Wage Floor.

   64.       The USIA’s final rulemaking at that time required compensation of au pairs “at

   a rate of not less than $115.00 per week.” The rule thus set a programmatic wage floor,

   i.e., a minimum amount for the compensation of au pairs.

   65.       The USIA derived this floor from its interpretation of USDOL rules, at that

   time, for room and board credits. In the preamble to the rulemaking, the USIA reiterated

   its “opinion that a weekly stipend or wage of not less than $115 is consistent with Fair

   Labor Standards Act requirements governing payment of minimum wage and is

   appropriate for the present time.”

   66.       As described further below, the assumptions underlying USIA’s calculations

   as published in 1995 quickly became obsolete. Federal labor laws allow employers to

   credit board, lodging, and other facilities costs in calculating a wage, but only where


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   employees voluntarily accept those services. By February 1997, the Department of

   Labor had clarified that host families may not deduct the costs of services against

   minimum wage if au pair program regulations required the host families to provide those

   services. The au pair program regulations require host families to provide au pairs with

   lodging, including a private bedroom. The February 1997 USDOL opinion -- which was

   sent to sponsors -- thus prevented host families from continuing to deduct lodging

   expenses from federal minimum wage.

   67.       Soon thereafter, in June 1997, to “ensure that there is no future confusion

   regarding the payment of minimum wage,” the USIA amended the rule to replace a

   specified programmatic wage floor with a reference to FLSA standards (i.e., “in

   conformance with the requirements of the Fair Labor Standards Act as interpreted and

   implemented by the United States Department of Labor.”). That rule remains in force

   today, codified at 22 C.F.R. § 63.31(j)(1).

   68.       Unfortunately, these rules setting a programmatic wage floor for au pairs and

   charging sponsors with FLSA compliance did not end abusive labor practices within the

   au pair program.

             5.       Abuse of Au Pairs’ Rights as Employees Continued Under a
                      “Cartel” of Sponsors, Which Fixed Wages at the Programmatic
                      Wage Floor, Irrespective of Federal and State Minimum Wage
                      Laws.

   69.       Notwithstanding the rules, au pairs’ rights under the FLSA and state wage

   laws were regularly violated where, for instance, au pairs did not receive three meals a

   day, or where state minimum wages were set higher than the FLSA and were not paid.

   The USIA noted abuses in its rulemaking of June 27, 1997, which imposed specific

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   provisions to limit the number of hours au pairs were required to work each day, “based

   upon the Agency’s experience that indicates the existing standard is subject to abuse.”

   70.        Moreover, sponsors, including the Sponsor Defendants, continued to fix

   wages for au pairs.

   71.        On March 1, 1995, Joseph Duffey, the Director of USIA, testified before

   Congress regarding the au pair program. He expressed his view that, “unfortunately,”

   the Sponsors “have a cartel.”

   72.        That cartel of Sponsors fixed standard au pair wages to the programmatic

   wage floor, despite state and federal labor laws dictating higher wages, changing

   market conditions, and the Sponsors’ open competition for foreign nationals to serve as

   au pairs on terms other than wage amounts.

 II.        THE SPONSOR DEFENDANTS HAVE ILLEGALLY FIXED STANDARD AU
            PAIR WAGES

   73.        The Sponsors continue to set au pair wages as an illegal cartel, to the

   detriment of au pairs and the relevant labor markets.

       A.    The Sponsors Collectively Control the Market for J-1 Visa Au Pair
             Employment.

   74.        There are substantial barriers to sponsoring and providing au pairs to families

   in the United States. As of November 2014, the Sponsors were the only entities lawfully

   permitted to do so because they are the only entities formally designated by the State

   Department to serve in that function. Thus, to participate in the J-1 visa au pair

   program, a foreign national must be sponsored by one of the Sponsor Defendants.




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   75.       The Sponsors comprised 100% of the State Department-designated sponsors

   of J-1 visa au pairs for the United States market in November 2014. Collectively, the

   Sponsors had 100% of the market power within the relevant market, including the power

   jointly to set au pair compensation below competitive and legal levels.

   76.       The Sponsors compete with one another in attracting au pairs to work with

   them. The Sponsors generate revenue based, primarily, on the number of au pairs they

   sponsor and place with family employers. Generally, a greater number of au pairs

   sponsored by a Sponsor Defendant yields greater revenues for that Sponsor Defendant.

   Accordingly, the Sponsors compete to sponsor and place as many au pairs as possible.

   77.       Among other things, the Sponsors compete with one another in attracting au

   pairs through marketing efforts, including splashy websites and outreach within foreign

   nations, and by providing competitive health insurance packages, offering completion

   bonuses, claiming superior host family experiences, promising personal attention and

   support, inviting au pairs on free weekend trips, and providing sponsored au pairs with

   the ability to win contests such as “Au Pair of the Year” awards.

   78.       In a properly functioning and lawfully competitive labor market, Sponsors

   would also compete for au pairs by offering, or facilitating, higher wages to au pairs than

   other Sponsor competitors.

   79.       In addition, in a properly functioning and lawfully competitive labor market, au

   pairs would be free to negotiate wages with multiple prospective sponsors and, upon

   preliminary acceptance in the program, would likewise be free to negotiate wages with

   multiple prospective family employers.


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     B.      The Sponsor Defendants Have Conspired to Fix Standard Au Pair Wages.

   80.       As a group, the Sponsors have conspired and agreed to fix all of their

   sponsored standard au pairs’ weekly wages at exactly the programmatic wage floor.

   This fixed weekly rate was and continues to be an artificially depressed wage for

   standard au pair services. The Sponsors’ agreement to fix the standard au pair wage

   constitutes a per se violation of antitrust laws.

   81.       Of the fifteen (15) current Sponsors, nine (9) offer a single au pair position

   and rate; that rate is set at the programmatic wage floor of $195.75 per week for 45

   hours of work. That comes out to $4.35 per hour. The remaining six (6) Sponsors offer

   two or more positions, with a “standard” au pair position at the rate of $195.75 per week,

   and one or more additional positions – termed “professional” or “extraordinary” or the

   like – at higher rates. The six Sponsors offer these higher wages for au pairs meeting

   specified criteria, such as two years of child care study plus two years of full-time child

   care experience; and there are relatively few au pairs that obtain employment in these

   special positions. Throughout this Complaint, the term “standard au pair” refers to those

   au pair positions offered by the nine (9) Sponsors offering a single position at a uniform

   wage, and those au pair positions offered by the remaining six (6) Sponsors for

   standard au pair services.

   82.       The vast majority of au pair employment opportunities for foreign nationals

   are for standard au pair positions, and the non-standard au pair positions have little

   economic significance on the overall au pair market.




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             1.    The Sponsors Have Conspired to Set Standard Au Pair Wages at
                   the Programmatic Wage Floor, Which is Currently $195.75 Per
                   Week.

   83.       Currently, the State Department oversees and administers the J-1 visa au

   pair program.

   84.       The Sponsors have conspired to fix standard au pair wages at the

   programmatic wage floor announced by the State Department in its publications.

   85.       The most current State Department regulations mandate that Sponsors

   ensure au pairs are “compensated at a weekly rate based upon 45 hours of child care

   services per week and paid in conformance with the requirements of the Fair Labor

   Standards Act as interpreted and implemented by the United States Department of

   Labor.”

   86.       As of July 24, 2009, a State Department bulletin updated the weekly minimum

   programmatic wage floor to $195.75 for 45 hours of weekly work.

   87.       The Sponsors have conspired to fix standard au pair wages at this precise

   rate.

   88.       As a result, Sponsors do not compete for standard au pairs through

   competitive wages.

   89.       Indeed, Sponsors recognize that they do not compete for au pair labor on

   wage amounts.

   90.       One Sponsor, Cultural Care, has informed prospective au pairs, in writing,

   that the weekly stipend arranged by Cultural Care would be “the same regardless of

   which au pair agency you use.”


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   91.       Another Sponsor, Cultural Homestay International, has used a slide deck in a

   marketing presentation to differentiate itself from other Sponsors. The slide

   differentiates Sponsors on various points, but never differentiates any Sponsor on the

   basis of the weekly wage.

   92.       It is not possible to differentiate between the Sponsors on the weekly wage

   amount because, by agreement, they all offer standard au pairs positions with host

   families at the same amount, currently $195.75.

             2.     Several Sponsors Have Admitted that the Sponsors Collectively
                    Colluded to Set Standard Au Pair Wages at that Amount.

   93.       Several Sponsors have admitted to an agreement among all of the Sponsors

   to keep standard au pair wages at exactly $195.75 per week.

   94.       They have admitted that:

                    i.     Each and every Sponsor conspired to reach an agreement on

                           standard au pair wages;

                    ii.    In that agreement, all of the Sponsors pegged the weekly wage

                           for their sponsored standard au pairs at the published minimum

                           allowable amount of $195.75 per week;

                    iii.   The Sponsors agreed to ensure that host families ”pay that

                           amount, no more”;

                    iv.    Maintaining this minimum weekly wage keeps au pair labor as a

                           “fixed expense”;

                    v.     As a result of the Sponsors’ collective agreement on fixed

                           wages, “pricing becomes standard across all agencies,” “the

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                            stipend is identical across all companies,” and “there is no

                            difference in prices, as far as the stipend goes, between all of

                            the agencies.”

   95.       For instance, in a telephone conversation on November 20, 2014, a

   representative of one Sponsor Defendant, with the title of “director,” admitted that there

   was an understanding between all of the Sponsors to pay standard au pairs the same

   amount. The Sponsor explained that the government sets a minimum amount, but that

   all of the Sponsors then agreed among themselves to pay exactly that minimum

   amount. This Sponsor thus characterized the “stipend paid to the au pairs” as a “fixed

   expense.” The Sponsor explained that the stipend “is where pricing becomes standard

   across all agencies,” and that “there is no difference in prices, as far as the stipend

   goes, between all of the agencies.”

   96.       In a separate telephone conversation on November 21, 2014, a

   representative of another Sponsor, also with the title of “director,” admitted that all of the

   Sponsors agreed to set au pair wages at $195.75. Specifically, the Sponsor

   acknowledged that each and every Sponsor got together and agreed to pay au pairs a

   stipend of no more than $195.75 a week. As the representative added, the Sponsors

   “all agreed to pay that amount, no more.”

   97.       In yet another telephone conversation on November 21, 2014, a

   representative of yet another Sponsor, again with a “director” title, explained why “the

   stipend is identical across all companies.” The representative admitted that the




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   Sponsors all agreed to pay that exact same minimum rate. As the Sponsor noted,

   “[e]verybody agrees” to pay au pairs no more than the minimum weekly wage.

              3.      The Sponsors Uniformly Advertise Standard Au Pair Wages at the
                      Identical Amount.

   98.        Consistent with their agreement to set standard au pair wages at $195.75 per

   week, all of the Sponsors have advertised standard au pair wages at $195.75 per week,

   as set in the following paragraphs.

                      a.   InterExchange

   99.        As of November 2014, InterExchange’s website included the following table,

   advertising standard au pair employment for $195.75 per week:

    Description       2014 Costs               Payment Due

    Au Pair           $195.75 per week for     Each week, on a day that you and your
    Stipend           51 weeks                 au pair agree upon


                      b.   Cultural Care

   100.       As of November 2014, Cultural Care’s website included the following text,

   advertising standard au pair employment for $195.75 per week: “Paid to your au pair –

   Weekly stipend: $195.75.”

                      c.   Au Pair in America

   101.       As of November 2014, Au Pair in America’s website included the following

   table, advertising standard au pair employment for $195.75 per week:

                               Au Pair       Extraordinaire       Educare

          Match Fee              $400              $400            $400


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                                Au Pair       Extraordinaire       Educare

   Program Fee Annual            $8,245          $9,375              $7,065

   Weekly Stipend* Paid        $195.75**         $250**            $146.81**
    weekly/51 weeks

           Average                $ 365           $ 442              $ 293
          weekly cost           (45hrs of       (45hrs of          (30hrs of
                               weekly care)    weekly care)       weekly care)



                   d.       GoAuPair

   102.      As of November 2014, GoAuPair’s website included the following table,

   advertising standard au pair employment for $195.75 per week:

                                     Fees Paid to Au Pair

                    Weekly Stipend                             $195.75

                    The weekly stipend is the term for the wages paid to
                    the Au Pair by the Host family


                    Education Contribution                      $500

                    The education contribution is the contribution
                    amount paid to the Au Pair by the Host Family and
                    required by Department of State regulations


                    Other Fees                                  Varies

                        Learn more about other fees that may occur



                   e.       USAuPair




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   103.      As of November 2014, USAuPair, Inc.’s website included the following table,

   advertising standard au pair employment for $195.75 per week.:

                                                       New
                                                   Families           Repeat
                                      Families Transferring1        Families2
                Weekly Stipend
                for
                51 weeks3             $ 195.75        $ 195.75         $ 195.75


                   f.     GreatAuPair

   104.      As of November 2014, GreatAuPair, LLC’s website included the following

   table, advertising standard au pair employment for $195.75 per week:


               Paid to Your Au Pair



               Au Pair Stipend             $195.75/wk    Paid per week for 52 weeks
                                                         ($10,179)

                   g.     Expert AuPair

   105.      As of November 2014, Expert Group International Inc., dba Expert AuPair’s

   website included the following table, advertising standard au pair employment for

   $195.75 per week:


    ITEM                    COST                                 DUE


                            Regular: $10,179 ($195.75* X 52
                            weeks)                               Due according
    Pay
                                                                 to contract
                            Educare: $7,634.12 ($146.81* X
                            52 weeks)

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                   h.     EurAuPair

   106.      As of November 2014, EurAuPair Intercultural Child Care Programs’ website

   included the following table, advertising standard au pair employment for $195.75 per

   week:


                                                           Par Expérience
                                      Regular


      Au Pair Weekly
                                      $195.75                    $250
      Stipend**



                   i.     Cultural Homestay

   107.      As of November 2014, Cultural Homestay International’s website included the

   following text, advertising standard au pair employment for $195.75 per week:

                   Additional costs: In addition to the program fee, additional costs

                   required by the U.S. Department of State and CHI Au Pair USA include

                   the au pair’s: Weekly stipend of $195.75

                   j.     AuPairCare

   108.      As of November 2014, AuPairCare Inc.’s website included the following table,

   advertising standard au pair employment for $195.75 per week:



                                   Au Pair Stipend




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           $195.75 / week      Paid weekly to your au pair for 51 weeks




                   k.      Au Pair International

   109.      As of November 2014, Au pair International, Inc.’s website included the

   following table, advertising standard au pair employment for $195.75 per week:

                             Standard Au

                             Pair andInfant                       Pre
                                                   Au Pair
                                                               Selected
                             Specialized      Professional
                                                                Au Pair
                             Au Pair


     Weekly Stipend **          $195.75             $225        $195.75

     Average cost for 45
                               $324/week       $369/week      $310/week
     hours of
                               $7.20/hour       $8.20/hour     $6.90/hour
     customized care

                    **Paid directly to au pair weekly


                   l.      APF Global Exchange

   110.      As of November 2014, APF Global Exchange, NFP’s website included the

   following text, advertising standard au pair employment for $195.75 per week:

                    STANDARD AU PAIR

                    Description:

                    A Standard Au Pair provides up to 45 hours of experienced childcare
                    per week for children over the age of 2 years. A Standard Au Pair has

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                     at least 200 hours of documented childcare experience with children
                     over the age 2.
                     Educational Component:

                     A Standard Au Pair studies at least 6 semester units at an accredited,
                     post-secondary institution. The Host Family contributes up to $500
                     toward the Au pair’s educational expenses.
                     Weekly stipend: $195.75
                     m.    Agent Au Pair

   111.      As of November 2014, Agent Au pair’s website included the following table,

   advertising standard au pair employment for $195.75 per week:

                                    Program Fees

                                    Standard        Infant Qualified
   Fee Type                                                              Repeat
                                                                        Families
                                     Au Pair            Au Pair
   Application Fee              $300.00 WAIVED $300.00 WAIVED $0
   Program Fee                  $7,400.00           $7,400.00          $7,050.00
   Weekly Stipend (paid to
                                $195.75             $195.75            $195.75
   au pair)
   Average Weekly Cost          $340.00             $340.00            $340.00
   Education Allowance          Up to $500          Up to $500         Up to $500
   Domestic Transportation
                                                                       Varies by
                                Varies by State     Varies by State
                                                                       State
   ($0 for Bay Area families)


                     n.    ProAuPair

   112.      As of November 2014, A.P.EX. American Professional Exchange, LLC dba

   ProAuPair’s website included the following text, advertising standard au pair

   employment for $195.75 per week: “You receive: Pocket Money: . . . Regular Au Pair -

   $195.75 per week.”

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                    o.      The International Au Pair Exchange

   113.      As of November 2014, 20/20 Care Exchange, Inc. dba The International Au

   pair Exchange’s website included the following text, advertising standard au pair

   employment for $195.75 per week: “Weekly Stipend $195.75 paid directly to the au

   pair.”

   114.      In addition to the rates posted prominently on the Sponsors’ websites, the

   Sponsors have also advertised the $195.75 rate to au pairs in other publications and

   promotional materials.

   115.      For example, InterExchange advertises the wage of $195.75 to au pairs and

   prospective au pairs on its blog entitled “blog.foraupairs.org.” On that blog,

   InterExchange informs prospective au pairs that “[a]ll au pairs earn a weekly stipend of

   $195.75 per week,” and that “[i]t seems like a strange number, but there is a strict

   equation used to arrive at that amount.”

   116.      Likewise, Au Pair in America advertises, on a website entitled “Benefits of

   Being an Au Pair,” that “an Au Pair in America [will] earn a weekly stipend of $195.75.”

   Au Pair in America also advertises, on foreign sites: “You get: US$195.75 / approx.

   US$9990 per year.”

   117.      Similarly, Expert Au pair’s services advertised on the website “Under 31,”

   state that its program “offer[s] au pairs a weekly salary of US$195.75 . . . in exchange

   for 45 hours of child care per week for their host family.” Expert Au Pair also advertises

   the $195.75 rate to host families. On its website, it holds out the cost of the “au pair

   option” as “around $320 per week.” And through Craigslist posts, it advertises


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   “approximately 330$/week for 52 weeks and . . . 45 hours of childcare weekly.” After

   deducting the set fees advertised by Expert Au Pair, the advertised costs of $320-330

   per week correspond with Expert Au pair’s set weekly wage of $195.75 for au pairs.

             4.     The Sponsors Have Maintained the Fixed Standard Au Pair Wage,
                    Despite Illegality and Differences in Market Conditions.

   118.      The Sponsors’ collusive agreement is further evidenced by, among other

   things, the uniform ratcheting up of this agreed weekly wage rate each time the

   announced programmatic wage floor increased.

   119.      The Sponsors’ collusive agreement is also evidenced by the fact that their

   fixed wage of $4.35 per hour is an illegal wage under the FLSA in most circumstances,

   as further described below.

   120.      The Sponsors’ collusive agreement is also evidenced by the Sponsors’

   insistence on a standard au pair wage of $195.75 per week throughout various states

   and localities, even where that wage violates applicable state and local minimum wage

   laws.

   121.      The Sponsors’ collusive agreement is evidenced as well by the Sponsors’

   maintenance of a fixed standard au pair wage of $195.75 per week across the United

   States, where the costs of alternative childcare arrangements differ significantly. For

   instance, the Sponsors’ collusion causes an au pair in Maine to receive the same

   weekly pay as an au pair in Manhattan.

   122.      The Sponsors’ collusive agreement is further evidenced by their maintenance

   of a fixed standard au pair wage of $195.75 per week across host families, regardless of

   the number of children within the family requiring care from the au pair. Thus, the

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   Sponsors’ collusion causes an au pair responsible for one child to receive the same

   weekly pay as an au pair responsible for five children.

   123.      Moreover, this collusion is apparent in the failure of the Sponsors to adjust

   their standard au pair wages in changing market conditions.

             5.     The Sponsors Have Had the Means, Opportunity, and Motive to
                    Conspire to Fix Standard Au Pair Wages.

   124.      The Sponsors have had the means, opportunity, and motive to conspire to fix

   standard au pair wages.

   125.      Sponsors recognize that au pairs seek out their positions not only to earn a

   wage, but also to experience life in the United States on a J-1 visa.

   126.      The au pairs’ dual interest in compensation and entry into the United States

   means that au pairs do not view other opportunities for employment (e.g., in their home

   country) as interchangeable with employment as J-1 visa au pairs in the United States.

   127.      Sponsors accordingly understand that au pairs would not readily abandon an

   opportunity to be employed as J-1 visa au pairs in the United States. Consequently, in

   a cartel among Sponsors fixing au pair wages, Sponsors are relatively unconstrained in

   setting those wages.

   128.      The Sponsors have numerous opportunities to conspire and fix wages.

   129.      For instance, Sponsor Defendants InterExchange, GreatAuPair, LLC, Expert

   AuPair, EurAuPair, Cultural Homestay International, Cultural Care, AuPairCare Inc.,

   APF Global Exchange, Au Pair in America, American Cultural Exchange, Agent Au Pair,

   and GoAuPair are members of an association called the Alliance for International

   Education and Cultural Exchange (the “Alliance”).

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   130.       Likewise, Sponsor Defendants InterExchange, EurAuPair, Cultural Homestay

   International, Cultural Care, AuPair International, AuPairCare Inc., APF Global

   Exchange, GoAuPair, and ProAuPair are members of an association called the

   International Au Pair Association (“IAPA”).

   131.       According to IAPA’s website, individuals within InterExchange and Cultural

   Care have held two of the four IAPA board seats.

   132.       Both the Alliance and the IAPA hold events where Sponsor members have

   the opportunity to meet, conspire, and agree to fix wages. The Sponsors’ membership

   in the Alliance and the IAPA – both legal organizations – provides the Sponsors with an

   opportunity to fix illegal au pair wages in a setting that would be difficult for authorities to

   detect.

   133.       In 2014, the featured speaker at the IAPA annual conference has published

   an article arguing for strict maintenance of a fixed $195.75 weekly wage for standard au

   pairs. Her publication states that “host families do each other a disservice when they

   start to compete with each other (or try to stand out as a ‘better family’) by offering more

   pocket money. We don’t want au pairs to be ‘shopping’ for a higher stipend.”

   134.       In addition to their various opportunities to fix wages, the Sponsors have a

   clear motive to do so.

   135.       By fixing wages, the Sponsors collectively ensure that employer families are

   presented with au pairs at the lowest price claimed as permitted by federal law. This

   benefits Sponsors in at least two ways: (1) by allowing the Sponsors to increase the

   portion of the overall costs to host families that are comprised of Sponsors’ fees without


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   increasing overall costs to host families, and (2) by increasing the affordability of au pair

   arrangements for host families, and thus expanding the number of potential host

   families. Both of these results increase Sponsors’ profits, at the expense of au pairs.

   136.      Beyond their opportunities and incentives to fix wages, the Sponsors are well

   situated to coordinate wage fixing and monitor each other to determine if any Sponsor is

   undercutting the cartel’s fixed standard au pair wage.

   137.      The Sponsors’ industry structure inherently facilitates collusion. The

   Sponsors comprise 100% of the relevant labor market. As a relatively small group, with

   100% market share, the Sponsors are able to easily and simply agree on prices and

   police against cheating, without the need to create elaborate mechanisms.

   138.      Moreover, Sponsors advertise their standard au pair wages online, which

   allows other Sponsors to easily monitor maintenance of the fixed wage.

   139.      Sponsors also treat standard au pairs as fungible, which further facilitates the

   Sponsors’ ability to set, maintain, and monitor the fixed wage.

   140.      Sponsors, in addition, control wages paid by host families to au pairs. The

   Sponsors dictate wages to au pair family employers, and families agree to pay the fixed

   wages to au pairs. By exercising this control over host families, Sponsors can ensure

   uniformity in the wage set by the Sponsors’ cartel.

   141.      As an example, InterExchange sets the $195.75 weekly wage in contractual

   arrangements between itself, host families, and au pairs. For instance, the

   InterExchange Au Pair USA Extension Program Application requires signatures from au




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   pairs and host families. Page 5 of the application requires the host family to agree to

   “the rate of $195.75 per week.”

   142.      As another example, GoAuPair has created a handbook, entitled “GoAuPair

   Au Pair Household Handbook,” for GoAuPair host families to use in instructing au pairs

   on rules and expectations. The handbook states that au pair wages are set by the “US

   Government,” currently at $195.75 per week.

             6.     The Sponsors Have Used Deception as One Means of Maintaining
                    Fixed Standard Au Pair Wages.

   143.      The Sponsors have used deception to maintain their price-fixing scheme.

   144.      Among other things, Sponsors have falsely informed au pairs that the

   $195.75 programmatic wage floor is a maximum wage or a wage fixed by the

   government.

   145.      This Complaint details below false statements made by InterExchange,

   Cultural Care, and Au Pair in America to deceive au pairs and prospective au pairs into

   believing that the programmatic wage floor is a maximum or mandated wage.

   146.      In addition, AuPairCare tells au pairs that any wage beyond $195.75 a week

   is illegal. In a discussion about suspicious and potentially illegal acts, such as host

   families asking au pairs to open bank accounts for them, AuPairCare informs au pairs:

   “Legitimate host families will also not offer you a higher stipend than what is listed in the

   regulations published by the U.S. Department of State for the Au Pair Program.” The

   message continues: “There’s no need to be overly alarmed regarding this message.

   Just be aware and cautious.”



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   147.      AuPairCare knows that its statements are false. AuPairCare previously

   offered non-standard au pair rates above the programmatic wage floor. It could not

   have offered those rates if the State Department published programmatic wage floor

   was, in fact, a maximum or mandated wage.

     C.     The Sponsor Defendants’ Conspiracy Has Damaged and/or Continues to
            Damage Plaintiffs and All Those Similarly Situated.

   148.      By acting as a cartel and illegally fixing au pair wages, the Sponsors

   eliminated competition for au pair labor.

   149.      The Sponsors’ collusive activity had and has the effect of restraining trade in

   that au pairs are not able to negotiate their wage rates above the weekly stipend set by

   their Sponsors. The artificially depressed wages set by the Sponsors damaged the

   Named Plaintiffs and those similarly situated.

   150.      In a properly functioning and lawfully competitive labor market, Sponsors

   would compete for au pairs by offering, or facilitating, higher wages to au pairs than

   other Sponsor competitors. In addition, au pairs would be free to negotiate wages with

   multiple prospective sponsors and, upon preliminary acceptance in the program, would

   likewise be free to negotiate wages with multiple prospective family employers.

   151.      But for the collusion among Sponsors, au pair wages in a functioning and

   lawfully competitive labor market would be at or near the prevailing wages for workers

   doing similar work, e.g. educated, trained, live-in nannies. As further evidence of the

   impact of the restraint of trade, Defendants’ websites tout that the prevailing nanny

   wage is several times higher than their illegally price fixed au pair wage.



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    152.        As further evidence of the impact of the restraint of trade, Defendants’

    websites boast that, unlike other childcare arrangements, au pairs do not get paid more

    than the illegally fixed wage regardless of how many children are being cared for. Many

    Sponsors’ websites tout that the costs are fixed, regardless of the number of children in

    a host family.

    153.        The price-fixing agreement has had the effect of suppressing competition for

    the compensation of J-1 visa au pairs.

    154.        The restraint of trade affects interstate commerce by artificially depressing

    wages for the au pairs and other domestic workers across the United States.

 III.      INTEREXCHANGE, CULTURAL CARE, AND AU PAIR IN AMERICA HAVE
           DECEIVED STANDARD AU PAIRS TO INDUCE THEM TO ACCEPT ILLEGAL
           WAGES.

           A.    InterExchange, Cultural Care, Au Pair in America, and AuPairCare
                 Have Falsely Informed Au Pairs That They Are Not Entitled, by Law, to
                 Any Amount Beyond $195.75 Per Week.

                     1.   The State Department’s Posted Minimum Wage of $195.75
                          Represents a Programmatic Wage Floor, Not a Maximum or
                          Government-Fixed Amount.

    155.        The advertised weekly wage of $195.75, as promoted by each Sponsor for

    standard au pairs, is not compelled by law.

    156.        Rather, the current $195.75 weekly minimum wage amount is simply a

    programmatic wage floor.

    157.        The Government has made clear that, consistent with the FLSA, the current

    $195.75 weekly stipend amount is a programmatic wage floor, i.e., a minimum.




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   158.       The State Department’s J-1 website states that host families are required to

   “[p]ay a weekly minimum stipend.”

   159.       The State Department’s website is a virtual front door to the J-1 visa au pair

   program. The fact that the $195.75 represents a minimum weekly stipend is posted on

   that virtual front door.

   160.       The USIA, which oversaw the J-1 visa au pair program before the State

   Department took over, was just as clear. The USIA’s original rule mandated wages “at

   a rate of not less than $115.00 per week.”

   161.       Following increases in federal minimum wage effective October 1996 and

   September 1997, the USIA informed sponsors of increases in the minimum weekly

   compensation of au pairs.

   162.       The USIA amended its original rulemaking in June 1997 to create the current

   rule. That rule mandates that sponsors ensure au pairs are paid “in conformance with

   the requirements of the Fair Labor Standards Act as interpreted and implemented by

   the United States Department of Labor.”

   163.       In February 1997, USDOL had issued an opinion letter labeling the stipend a

   “minimum wage” and referring to host families’ “minimum wage obligations” in paying au

   pairs.

   164.       In August 1997, USDOL issued another opinion letter reiterating that the au

   pair minimum wage referenced within the au pair program regulations constituted a

   programmatic wage floor.




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   165.       The USIA and the State Department consolidated in 1999, and the State

   Department assumed the administration and oversight responsibilities for the J-1 visa

   au pair program.

   166.       Before the consolidation, from approximately March 1997 through September

   1999, the USIA website posted a document entitled “Fact Sheet: Au Pair Stipend.” The

   document informed sponsors and host families that the minimum FLSA stipend

   calculation, then $128.25 per week, was a “minimum weekly stipend."

   167.       Subsequent State Department rulemakings have never departed from the

   original rule.

   168.       In 2002, the State Department’s Educational and Cultural Affairs Bureau

   issued a notice entitled “Weekly Wage Due to Au Pair Program Participants.” The

   notice stated that USDOL has “sole jurisdiction regarding matters of minimum wage.”

   The notice reiterated that “the wage given an Au Pair must conform to minimum wage

   law and adjustments.”

   169.       These rules, statements, and notices are consistent with the State

   Department’s current J-1 visa website, which states that the published minimum rate is

   simply a “weekly minimum stipend.”

              2.      The Sponsors All Know that the Published Federal Minimum
                      Weekly Wage of $195.75 Is Simply a Programmatic Wage Floor.

   170.       The Sponsors all know that the published programmatic wage floor is simply

   a floor.

   171.       The Sponsors all have access to the government materials referenced above,

   which make clear that the published programmatic wage floor is a floor.

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   172.         The Sponsors all have access to their competitors’ websites and public

   marketing materials.

   173.         On their websites and in their marketing materials, certain Sponsors have

   acknowledged that $195.75 per week is merely a programmatic wage floor. For

   instance, Expert AuPair notes on its website that $195.75 per week is “the minimum

   required.”

   174.         Au Pair in America and five other Sponsors have also openly advertised on

   their websites extraordinary wages for certain au pair positions. In offering these

   relatively rare higher rates, these Sponsors necessarily recognized that the State

   Department’s published weekly wage requirement reflects merely a programmatic wage

   floor.

   175.         In addition to the six Sponsors that currently advertise extraordinary wages

   for certain au pair positions, at least two other Sponsors previously offered rates above

   the fixed standard au pair rate for certain positions.

   176.         In particular, InterExchange previously offered non-standard au pair positions

   at higher wage rates.

   177.         Those Sponsors that have not offered any non-standard rates are,

   nevertheless, aware that their competitors offer these special positions at rates above

   $195.75. They thus also recognize that, by law and in practice, $195.75 is merely a

   programmatic wage floor.




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   178.      An au pair sponsor association, to which Cultural Care belongs, has

   republished material on its website advising that State Department rules require “a

   weekly salary of at least $195.75.”

   179.      In addition, each of these Sponsors has acknowledged that the State

   Department published wage is merely a programmatic wage floor, including as detailed

   below.

                    a.      InterExchange

   180.      In the past, InterExchange has advertised and offered au pair positions at

   wages higher than the amount published by the State Department.

   181.      In so doing, InterExchange has acknowledged that the State Department

   published amount represents merely a programmatic wage floor, not a set or maximum

   wage.

   182.      In addition, InterExchange admits on its website, as of April 19, 2016, that the

   weekly stipend is “a minimum of $195.75.”

   183.      In doing the above, InterExchange has acknowledged that the State

   Department published amount represents merely a programmatic wage floor, not a set

   or maximum wage.

   184.      Notably, prior to the commencement of this suit, InterExchange’s website did

   not characterize the stipend as a minimum on its website.

                    b.     Cultural Care




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   185.      Cultural Care admits in its tax advice to host families that “[s]ome families

   choose to pay more than the required $195.75 stipend” and that “many families choose

   to increase the stipend during an extension year.”

   186.      At a regional meeting conducted in 2012, a speaker addressed the au pair

   program’s “biggest myths and urban legends,” and the second myth covered in her

   presentation was whether it is “acceptable for a host family to pay their au pair more

   than $195.75/week: True.”

   187.      In so doing, Cultural Care has acknowledged that the State Department

   published amount represents merely a programmatic wage floor, not a set or maximum

   wage.

                    c.     Au Pair in America

   188.      Au Pair in America currently offers non-standard au pair positions at rates

   higher than $195.75 a week.

   189.      In addition, Au Pair in America admits on its website, as of March 1, 2015,

   that “$195.75” is the “minimum weekly stipend.”

   190.      In doing the above, Au Pair in America has acknowledged that the State

   Department published amount represents merely a programmatic wage floor, not a set

   or maximum wage.

   191.      Notably, prior to the commencement of this suit, Au Pair in America’s website

   did not characterize the stipend as a minimum on its website.

                    d.     AuPairCare




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          192.    In its form contract with its au pairs, AuPairCare acknowledges that in

             1994 the USDOL determined that “the au pair stipend constitutes ‘wages’

             because an employer-employee relationship exists between the au pair and

             the Host Family.”

          193.    Moreover, AuPairCare has acknowledged in the course of this litigation

             that au pairs can be paid more than the stipend, admitting that “[t]he

             Department of Labor has determined there is an employer/employee

             relationship between the host families (not the sponsors) and the au pairs,

             and thus the stipend paid to an au pair must conform to the ‘requirements of

             the Fair Labor Standards Act as interpreted and implemented by the United

             States Department of Labor;’” “that host families are free to pay more than the

             designated amount;” and has citied with approval decisions by host families to

             minimally depart from the $195.75 amount. ECF Docs. ## 84, 135.

             3.      Yet, These Sponsors Have Falsely Informed Au Pairs and Host
                     Families that the State Department Published Amount is a Fixed
                     or Maximum Amount.

   194.      Despite understanding that $195.75 is a programmatic wage floor,

   InterExchange, Cultural Care, Au Pair in America, and AuPairCare have instructed host

   families to pay that amount, and no more, and have falsely informed foreign nationals

   seeking au pair employment and host families seeking to employ au pairs that the

   programmatic wage floor is a fixed or maximum wage.




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   195.      InterExchange, Cultural Care, Au Pair in America, and AuPairCare have

   made these false and misleading statements to ensure that host families employ au

   pairs at reduced and illegal wages, ultimately to increase their own profits.

                        a.     InterExchange

   196.      InterExchange has deceptively advised au pairs and prospective au pairs that

   any offer for a weekly wage above $195.75 should be considered bogus.

   197.      For instance, in a blog entry posted on May 21, 2014, InterExchange warned

   prospective au pairs: “don’t let your excitement cloud your good judgment. . . . .Scams

   and frauds involve many techniques. For an example, a scammer may pretend to be an

   au pair agency like InterExchange, or a host family that saw your profile online. . . .

   They may make you offers that sound amazing, like paying you more than the program

   amount of $195.75 per week.”

   198.      InterExchange has since modified its warning to au pair that scammers “may

   make you offers that sound amazing, like paying you much more than the minimum

   program amount of $195.75 per week.” (emphasis added to show revision).

   199.      InterExchange further deceived au pairs and prospective au pairs by

   manufacturing an explanation for the $195.75 weekly wage paid to InterExchange au

   pairs.

   200.      For example, in a blog entry posted on January 22, 2014, InterExchange

   falsely informed au pairs and prospective au pairs that the $195.75 number was the

   result of a “strict equation” based on “subtracting 40% room and board”:




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          All au pairs earn a weekly stipend of $195.75 per week – this is a number

          determined by the U.S. State Department. You may be wondering, “Why 195.75

          per week?” It seems like a strange number, but there is a strict equation used to

          arrive at this amount. The stipend is calculated by multiplying the Federal

          Minimum Wage by the maximum number of hours worked per week, then

          subtracting 40% for room and board.


          Here’s how the stipend is calculated:

          Federal Minimum Wage: $7.25 x Maximum hours worked per week: 45 =
          $326.25 minus Room and board credit of 40% ($130.50) = $195.75

   201.       Contrary to InterExchange’s misrepresentation, the calculation of federal

   minimum wages due to au pairs nowhere incorporates a credit based on 40% of room

   and board.

   202.       InterExchange made these misrepresentations to deceive au pairs and

   prospective au pairs into believing that the $195.75 wage was legal, appropriate, and

   mandated by law, when the opposite was true.

                       b.   Cultural Care

   203.       Cultural Care has informed prospective and current au pairs that the weekly

   stipend is fixed.

   204.       For instance, in its marketing materials, it tells prospective host families “all au

   pairs make the same weekly stipend of $195.75.”

   205.       Cultural Care has informed prospective and current au pairs that the weekly

   stipend is set by the Department of Labor, when in fact the Department of Labor has

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   never ruled that the State Department programmatic floor could be legal under the

   FLSA.

   206.       For example, in information sessions, Cultural Care informed prospective au

   pairs that their wage would be $195.75 per week.

   207.       In addition, Cultural Care has informed prospective and current au pairs the

   weekly stipend of $195.75 per week, as provided by Cultural Care host families, would

   be “the same regardless of which au pair agency you use.”

   208.       Likewise, in its public filings in this case, Cultural Care has maintained that

   $195.75 is the maximum amount permitted to be paid to any J-1 au pair.

                     c.     Au Pair in America

   209.       Similarly, Au Pair in America has informed au pairs that they may not accept

   more than a stipend of $195.75 a week from their families.

   210.       Au Pair in America has threated au pairs that, if they accept more money from

   host families, the au pairs could be subject to deportation.

   211.       Moreover, prior to the commencement of this lawsuit, Au Pair in America’s

   website listed the “weekly stipend” as simply $195.75 and instructed host families that

   they needed to “pay th[at] published fee.”

                     d.     AuPairCare

           212.   Despite knowing that paying au pairs more than $195.75 is lawful,

              AuPairCare warns au pairs on its website “[l]egitimate host families will also

              not offer you a higher stipend than what is listed in the regulations published

              by the U.S. Department of State for the Au Pair Program.”


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          213.   In its contract with its au pairs, AuPairCare fixes au pair wages at

             precisely the $195.75 amount with this contract term: “Au Pair will receive a

             weekly stipend in accordance with the U.S. Department of State Regulations

             in the amount of $195.75.”

          214.   Moreover, on its website (at least as of the filing of the First Amended

             Complaint in this action), AuPairCare advertised to families and au pairs that

             the “Au Pair Stipend” is exactly $195.75 per week.

     B.     In Deceiving Au Pairs, InterExchange, Cultural Care, Au Pair in America,
            and AuPairCare Have Operated Through Patterns of Racketeering
            Activity That Have Injured Plaintiffs and Those Similarly Situated.

                 1.     The Enterprises

   215.      InterExchange, Cultural Care, Au Pair in America, and AuPairCare have each

   formed an association-in-fact between itself, its agents, and its customer host families.

   216.      Each of these Sponsors has entered into contractual relationships with the

   host families, in which the host families compensate the Sponsor for sponsoring au

   pairs to work for the host families. The host families for each Sponsor have no

   contractual relationships among themselves.

   217.      Under State Department regulations, each Sponsor has an obligation to

   monitor the relationship between each sponsored au pair and each host family.

   218.      The contractual and regulatory relationships between InterExchange, Cultural

   Care, Au Pair in America, and AuPairCare their agents, and their scores of host families

   form, for each such defendant, an association-in-fact (the “Enterprise”).




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   219.      The purpose of each Enterprise is the sponsorship and employment of au

   pairs. Without the Sponsors’ sponsorship of au pairs, the host families would be unable

   to employ foreign national au pairs. Without the host families’ employment of au pairs,

   the Sponsors would be unable to sponsor foreign national au pairs. The Enterprise is

   thus necessary for both the sponsorship and employment of au pairs.

   220.      These Enterprises have existed since the State Department first designated

   each Sponsor as an au pair program sponsor. The Enterprises have existed, and

   continue to exist, to permit the enterprises to achieve their purposes of sponsoring and

   employing au pairs.

   221.      These Enterprises, by sponsoring foreign national au pairs to enter the United

   States, and by employing au pairs through the United States, have an effect on

   interstate and foreign commerce.

             2.     Association

   222.      InterExchange, Cultural Care, Au Pair in America, and AuPairCare are each

   associated with a respective Enterprise consisting of itself, its agents, and its host

   families. Each of these Sponsor Defendants is the lynchpin of its respective Enterprise;

   while each Enterprise could continue without any particular host family, each Enterprise

   requires the sponsorship of each such Defendant.

   223.      As explained below, InterExchange, Cultural Care, Au Pair in America, and

   AuPairCare each engaged in their respective Enterprise’s racketeering activities.

             3.     Participation




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   224.        InterExchange, Cultural Care, Au Pair in America, and AuPairCare

   participated directly in the conduct of the affairs of their own Enterprises. Among other

   acts of participation, each such Sponsor recruited, engaged, and sponsored au pairs to

   be employed with host families within its respective Enterprise.

   225.        As explained below, each such Sponsor further participated directly in the

   conduct of the affairs of its respective Enterprise through a pattern of racketeering

   activity.

               4.    Pattern of Racketeering Activity

   226.        InterExchange, Cultural Care, Au Pair in America, and AuPairCare engaged

   in a pattern of racketeering activity by committing multiple, continuing, and related acts

   of fraud for the benefit of their respective Enterprises over a period of years.

   227.        Among other things, each such Sponsor Defendant has engaged in schemes

   and artifices to defraud au pairs and prospective au pairs, through multiple fraudulent

   acts intended to deprive au pairs and prospective au pairs of wages, including by using

   electronic communications, such as internet publications, and by recruiting au pairs

   abroad by using materially false statements.

   228.        As described above and in further detail in sections that follow, each such

   Sponsor Defendant has lied to au pairs and prospective au pairs about the weekly

   stipend the Sponsor Defendants arranged for standard au pairs to be paid.

   229.        In particular, the Sponsors have repeatedly and intentionally deceived au

   pairs and prospective au pairs by wrongfully informing them that standard au pair wages

   were non-negotiable and fixed at $195.75 per week. Each such Sponsor knew that au


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   pair wages are negotiable and that the figure of $195.75 per week represents a

   programmatic wage floor.

   230.      These Sponsors also lied to au pairs by pretending that state and local

   minimum wage laws were inapplicable. As described in greater detail in this Complaint,

   the minimum wage laws of various states and localities required these Sponsors to pay

   well beyond $195.75 per week, which is just $4.35 per hour. Despite these

   requirements, the Sponsors falsely claimed that au pairs were entitled to $195.75 per

   week, and no more.

   231.      The Sponsors lied to au pairs and prospective au pairs in order to sponsor

   them, and for their host families to employ them, as au pairs earning just $195.75 per

   week, without any negotiation by the au pairs.

             5.     These Actions Have Injured Au Pairs

   232.      By conducting their respective Enterprises through patterns of racketeering,

   InterExchange, Cultural Care, Au Pair in America, and AuPairCare have injured the au

   pairs they have sponsored who were or are employed by the host families comprising

   each Sponsor’s Enterprise.

   233.      Among other things, each of these Sponsors’ actions have caused the au

   pairs employed by each Sponsor to suffer loss of past, current, and prospective wages.

     C.     In Deceiving and/or Misleading Au Pairs, InterExchange, Cultural Care,
            GoAuPair, Au Pair in America, AuPairCare and Expert Au Pair Breached
            Fiduciary Duties to, Made Negligent Misrepresentations to, and/or
            Engaged in Constructive Fraud Against Au Pairs.

   234.      The Sponsors engaged au pairs in a special relationship where they

   essentially, for a fee, held themselves out as the au pairs’ protectors. The Sponsors

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   sought out the Plaintiffs and those similarly situated for employment as au pairs,

   claimed to have special knowledge regarding U.S. labor laws and took on a paternalistic

   role by claiming to look out for the plaintiffs.

                   1.    The Sponsors Have Known That $4.35 per Hour is Not a Legal
                         Wage.

   235.       The Sponsors were legally responsible for training the au pairs for their

   employment and protecting their rights under State Department rules in 22 C.F.R. §

   62.31 and as otherwise promised to the au pairs in the recruiting materials, agreements,

   and training.

   236.       In the course of their business the Sponsors told the au pairs that a law

   existed that set the wage at $195.75 and by implication that this wage was legal. They

   did this because they wanted the au pairs to sign up with the understanding that they

   could not find a better deal, and that they did not have the ability to ask for more money

   from the sponsors or the families. The Sponsors knew this to be false, or negligently

   failed to examine whether it was true or false.

   237.       The Sponsors purported to be in a position to protect the legal rights of the au

   pairs, and in fact acted as the arbitrators of any disputes about wages and hours with

   the ability to remove au pairs from the program and cause their removal from the

   country.

   238.       In doing this, the Sponsors purported to have superior knowledge and in fact

   specialized information of the law of au pair wages than the young foreign au pairs. The

   au pairs had a markedly inferior ability to know the laws because they were foreigners



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   with no concept of the U.S. federal system and no reason to think that the Sponsors

   would all say the same misstatement of the law.

   239.      Because the Sponsors knew that the $195.75 was a just programmatic floor,

   they must have known that, just like with all employees, Federal and State minimum

   wage laws could require higher minimum wages for 45 hours of work.

   240.      The Sponsors had a duty to know that all recruitment costs, security deposits,

   and any other expenses the au pairs incurred for the benefit of the employer had to be

   paid back to prevent the first week’s wage from falling below the minimum wage.

   241.      Since the contractual wage was only $4.35, the only way it could ever satisfy

   State and Federal minimum wages is if it were accompanied by legal wage credits for

   furnished facilities. The Sponsors never explain this to au pairs.

   242.      The Sponsors or their predecessors in interest that existed in 1997 received a

   copy of the February 28, 1997 ruling by the U.S. Department of Labor that specifically

   explained that credits for facilities toward minimum wage could not include expenses

   that the sponsors were required by law to provide.

   243.      The State Department echoed this ruling in the guidance the State

   Department issued pursuant to a congressional mandate in the William Wilberforce

   Trafficking Victims Protection Reauthorization Act of 2008. The State Department’s

   guidance issued to J-1 visa holders and entitled “Your Rights Regardless of Visa

   Status,” reiterates that “an employer usually may not deduct for housing,” such as

   where, as in the J-1 au pair program, “housing must be provided free of charge.”




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   244.        The Sponsors had actual or constructive notice that the lodging was provided

   for the benefit of the employer and could not give rise to a credit. In fact the sponsors

   tell the au pairs that only the $195.75 is taxable income, and not lodging, presumably

   because they know it is for the benefit of the employer. This was always true, but was

   especially the case when the au pairs had curfews so they would be rested for work, the

   au pairs were with the family away from their home, and when the au pairs were

   expected to wake during the night to work.

   245.        Cultural Care even instructed families that they could set a curfew so the au

   pairs would be rested for work, without telling the au pairs that this would be

   compensable time and the lodging would automatically be for the benefit of the

   employer.

   246.        The Sponsors knew or should have known that any wage credit for meals

   requires actually furnishing the meal and keeping records of those credits.

   247.        The Sponsors knew or should have known that the law for wage deductions

   and credits varies widely state to state, and that the State Department’s formula fails to

   satisfy many of them.

   248.        The Sponsors knew or should have known that the United States Department

   of Labor interprets the FLSA to not allow credits for facilities that are greater than those

   allowed by state law, and therefore a room and board credit would in many states

   automatically violate the FLSA.

   249.        The Sponsors knew or had a duty to know that the paid vacation could not

   include credits for facilities that were not provided during the vacation.


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   250.        The Sponsors had a duty to know that setting a curfew time for the au pair to

   be properly rested for child care constituted work under minimum wage laws because it

   was for the employer’s benefit.

   251.        The sponsors had a duty to know that to schedule the au pair to take care of

   children in the middle of the night would defeat any ability to take a facilities credit for

   the room.

   252.        The Sponsors had a duty to know that training time and time meeting with

   local coordinators was compensable time under the FLSA and many state and local

   laws.

   253.        The au pairs, with limited English understanding or sophistication, put their

   utmost trust into the Sponsors to protect their legal interests while in the United States.

   They were ignorant of the reality and reasonably assumed that the $195.75 weekly rate

   was fixed in law and could not be altered, and thus justly relied on the Sponsors’

   statements as government designees. This reliance prevented the au pairs from being

   able to exercise their rights to bargain for a higher wage or to assert their right to be

   paid the legal minimum wage for all hours worked.

   254.        The au pairs entered into employment contracts at $195.75 per week. The au

   pairs did not ask initially or during their employment for higher wages approaching the

   wages for nannies in the private market or for wages that were legal under the FLSA or

   the state and local minimum wages because they were led to believe that this was not

   possible.




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   255.      The purpose of making these material misstatements about wages was to

   induce au pairs to sign up at suppressed illegal wages without realizing that they could

   seek higher stipends from either the Sponsors or the families.

   256.      The Sponsors failed to exercise reasonable care when they informed the au

   pairs that the stipend could not be adjusted, and the au pairs suffered by not being able

   to negotiate to a wage at or approaching the normal nanny market and by not being

   paid in conformity with the FLSA and state and local wage and overtime laws.

   257.      They further breached their fiduciary duty by misleading au pairs and creating

   a wage ceiling.

   258.      Au pairs reasonably relied on these misstatements of facts and suffered

   damages when they paid fees to the sponsors and the sponsors’ agents in their home

   countries, when they were paid illegal wages, and when they were effectively denied the

   ability to argue for a free market wage.

                 2.        Specifically, InterExchange, Cultural Care, GoAuPair, Au Pair
                           in America, AuPairCare and Expert Au Pair Have Known That
                           $4.35 per Hour is Not a Legal    Wage

                      a.         InterExchange

   259.      InterExchange’s website for families emphasizes the fixed cost and flexibility

   of au pair schedules: “Plus, no matter how many children you have, your costs are for

   hosting one au pair, not based on each child.”

   260.      The part of the website for au pairs does uniquely mention the serious work,

   but it still stresses the family-life instead of employment: “You will be welcomed as a




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   new international member of the family and your relationship with your host family will

   develop over the program year.”

   261.      InterExchange tells au pairs that the salary is just under $10,000 for the year,

   which represents $195.75 per week for 51 weeks, including the paid vacation when no

   room and board is provided.

   262.      InterExchange’s website has a section for “InterExchange Participant Rights,

   Protections, Understanding” that sets out its special responsibility to watch out for the

   au pairs’ welfare, stating, among other things:

                    i.      “The following information describes a baseline for conduct that

                            our participants can expect from InterExchange and their hosts .

                            . .”

                    ii.     “InterExchange makes it a priority to ensure that all our

                            participants enjoy a safe, healthy and well monitored cultural

                            exchange experience in the U.S.”

                    iii.    “Protection of their legal rights under United States immigrant,

                            labor, and employment laws.

                    iv.     “Fair treatment and payment practices.”

   263.      In its pro forma extension agreement, au pairs agree that InterExchange and

   its “Agents or any local coordinator may, without liability, or expense to themselves, take

   whatever action they deem appropriate with regard to my health and safety and may

   place me in a hospital or health-related facility for medical services and treatment or, if




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   no hospital or health-related facility is readily available, may place me in the hands of a

   local medical doctor or health provider for treatment or service.”

   264.      InterExchange plays up its position as a U.S. State Department Designated

   Sponsor so that the au pairs will trust them. They warn au pairs that non-Designated

   parties might be scammers that “may make you offers that sound amazing, like paying

   you more than the program amount of $195.75 per week . . . .”

   265.      InterExchange knew that the programmatic wage floor was not the highest

   legal wage host families could pay au pairs. Indeed, InterExchange previously had

   programs with stipends higher than the State Department programmatic floor and, as

   part of those programs, arranged for au pair wages above the programmatic wage floor.

   266.      InterExchange’s tax advice for au pairs indicates that only the cash wage

   amount and not the lodging is taxable income. Upon information and belief,

   InterExchange knows this is only possible because the lodging exists for the

   convenience of the employer, which means it is not eligible as a wage credit.

                    b.          Cultural Care

   267.      Cultural Care maintains separate websites for the countries from which it

   wants to attract au pairs.

   268.      On these websites, Cultural Care advertises itself to potential au pairs by

   emphasizing the purported benefits of “cultural exchange”, stating “[y]our host family

   wants you to become a member of their family so they will provide an opportunity for

   you to learn about American culture and also share your culture with them on a daily

   basis.”


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   269.      Each of these country-specific websites contains a section advertising the

   “benefits and salaries” for its au pairs. All of the sections are substantially the same.

   For example, the version for South Africa states as follows:

                 Here are the benefits:

                    •   Flight tickets and travel arrangements to and from
                        your host family are covered, and the programme
                        begins with a four-day training school in Long Island,
                        New York
                    •   Your room and board will be provided by your host
                        family. This includes all meals.
                    •   You will receive a weekly stipend of USD$195.75 per
                        week (approximately R8,000 a month). As your living
                        costs will be covered; this stipend will be your pocket
                        money!
                    •   As part of your visa you will enroll in classes at a local
                        college or university. Your host family will contribute
                        USD$500 toward your studies (approximately
                        R5,500).
                    •   You are entitled to 2 weeks paid holiday during your
                        au pair stay as well as an additional month to travel
                        the USA once you have completed your au pair
                        experience.

   270.      The version directed to au pairs in Mexico similarly advertises the benefits of

   being an au pair including “a weekly payment of $195.75 USD”.

   271.      Simultaneously, Cultural Care attempts to attract families through a U.S.

   based website that highlights au pairs as a cheap childcare option.

   272.      The top of the homepage describes the au pair program as “[a] flexible,

   affordable childcare solution!” and goes on to describe its au pair program as a cheap

   alternative to daycare centers and nannies.

   273.      On its website, Cultural Care instructs families that “[a]n au pair should not be

   considered an employee….” and describes the “stipend” as follows: “Paid to your au
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   pair Weekly stipend: $195.75” “The weekly stipend is paid by you directly to your au pair

   for 51 weeks, including two weeks of paid vacation. Please note: the weekly stipend is

   determined by the U.S. Department of Labor using a formula based on the federal

   minimum wage. Any change in the federal minimum wage will result in an increase in

   the stipend.”

   274.      Cultural Care’s Website offers year-long support and states that the local

   childcare coordinator will, among other duties, “[g]ive support and advice as needed”

   and “[c]onduct a mediation in the case of a dispute.”

   275.      Cultural Care knew that $195.75 was not the highest amount host families

   could pay au pairs. Cultural Care’s own tax advice to host families advised that: “Many

   families choose to increase the stipend during an extension year.”

   276.      Furthermore, a Cultural Care agent and member of their Golden Heart

   League for the best and brightest local childcare coordinators blogged: “BTW, I do

   encourage host families of second year au pairs to pay a bit more than the usual as

   they are more experienced and everyone likes a yearly raise, even if it’s a small one.”

   277.      Cultural Care’s tax advice indicates that only the cash wage amount and not

   the lodging is taxable income. Upon information and belief, Cultural Care knows this is

   only possible because the lodging exists for the convenience of the employer, which

   means it is not eligible as a wage credit.

                    c.         GoAuPair

   278.      GoAuPair advertises on their website for families: “Au Pair live-in Child Care

   is affordable at only $7.63/hour [a number that includes both the “stipend” and the


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   sponsor fees] and offers more flexibility and benefits to your family than any other form

   of child care.” This number is derived from the $195.75.

          279.   The GoAuPair website compares the budget for paying an au pair to

             nanny and day care services, stating that for an au pair the budget is

             “$7.85/hr regardless of the number of kids,” as compared to the approximate

             cost for a nanny (“$10 to $15/hr”) or day care (“$8/hr per child”).

   280.      The portion of the GoAuPair website aimed at potential au pairs has a

   completely different emphasis on the cultural component: “Living in the U.S. as an Au

   Pair offers many unique benefits not found in other cultural exchange programs. Making

   new friends, improving your English, furthering your education and great pay are just a

   few of the many benefits of the Au Pair program.”

   281.      GoAuPair holds itself out as an authoritative source of information for the au

   pairs on its website: “Your Local Area Representative and GoAuPair are available to

   answer any questions and assist in all your needs . . . Our friendly staff at our corporate

   office is always ready to help. Whether you have questions about education, rules and

   regulations or anything else, we find the answer for you.”

   282.      The website section for frequently asked au pair questions also states: “You

   and your Host Family have a Local Area Representative within a one-hour drive of your

   home to help resolve any problems that arise during the year. If you do have a problem,

   you can contact your Local Area Representative and schedule a meeting with her to try

   to resolve the problem.




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   283.      GoAuPair plays up its designation by the State Department on its website to

   protect au pairs from scams: “Au Pair scams are very serious and have stolen money

   from prospective Host Families and Au pairs all across the world. The safest way to

   avoid this type of problem in the United States is to find Au pairs and Host Families

   through one of the U.S. Department of State Sponsor Agencies.”

   284.      GoAuPair states on its website: “The Department of Labor has sole

   jurisdiction regarding matters of minimum wage and the credit for room and board which

   is applied against the weekly stipend.”

   285.      This statement shows that GoAuPair acknowledges that the State

   Department does not have jurisdiction over interpreting the FLSA. Yet the statement

   also wrongly denies that state and local minimum wages could supersede the FLSA

   wage, and incorrectly implies that the Department of Labor has approved taking credits

   for the room which is required by law.

   286.      GoAuPair sets and advertises a standard au pair wage of $195.75 per week

   for 52 weeks, including the two weeks of vacation without room.

   287.      GoAuPair’s website states: “The stipend amount is based on federal

   minimum wage. Currently the stipend is $195.75 per week. The stipend you receive

   depends on the Au Pair program in which you participate.”

   288.      GoAuPair is unique in that its au pairs are offered 32 hours of DVDs to watch

   in their home country instead of the normal multi-day live training sessions in the United

   States that the other Sponsors do to satisfy the State Department training requirement.




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   289.      GoAuPair knows the $195.75 stipend is not a wage ceiling because it has a

   tiered system with higher wages for a small number of more skilled au pairs.

   290.      A GoAuPair Agent in Boston published tax advice for au pairs indicating that

   only the cash wage amount and not the lodging is taxable income. Upon information

   and belief, GoAuPair knows this is only possible because the lodging exists for the

   convenience of the employer, which means it is not eligible as a wage credit.

                    d.       AuPairCare

          291.   On its homepage, AuPairCare promises potential au pairs the “experience

             of a lifetime.” A linked page states “[g]et ready for the best year of your life!”

          292.   AuPairCare further advertises its 25 years of experience of supporting au

             pairs, a boast it ties to the representation that “when you become an

             AuPairCare au pair, you'll receive a stipend, room and board, spend time with

             children and have plenty of vacation time to explore America with your new

             friends.”

          293.   AuPairCare volunteers unsolicited warnings to au pairs so that the au

             pairs will trust them. They warn au pairs that non-Designated parties might

             be scammers and offer tips on how to identify a potentially fraudulent

             communication: “Legitimate host families will also not offer you a higher

             stipend than what is listed in the regulations published by the U.S.

             Department of State for the Au Pair Program.”




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         294.   On its website directed to au pairs, AuPairCare touts “Constant Support:

            When you become an au pair through AuPairCare, you’ll gain a large support

            network to ensure your success before, during and after your year abroad.”

         295.   AuPairCare lists among the benefits with AuPairCare a stipend over the

            year of “about $10,000 USD,” a number derived from the $195.75 minimum.

         296.   On the webpages directed to host families, AuPairCare advertises that the

            total program costs, including fees and the stipend, amount to “less than $8

            an hour,” a cost that remains constant even if the size of the family, and

            attendant duties assumed by the au pair, increase.

         297.   AuPairCare disclaims from the set costs the existence of “variable and

            optional costs,” including travel provided for the au pair to the host home and

            the $500 educational credit. AuPairCare does not include the stipend as a

            potential variable cost, or inform host families that the stipend is a mere

            minimum; rather, the stipend is listed in a chart of fix expenses and timetable

            for their payment:

         Au Pair                             When It's DuePaid weekly to your au pair for 51
                        Amount$195.75/week
         Stipend                             weeks




                   e.     Expert Au Pair

         298.   On its website, Expert Au Pair answers the question “Why us?” with

            reference to its “Framework of Support,” which promises to help the au pair

            “with any problems.”

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         299.     In its agreement with its au pairs, Expert Au Pair demonstrates its right

             and intention to take action Expert Au Pair deems necessary to protect the au

             pair’s health and safety. “Employees and agents of Expert AuPair may take

             whatever action they consider necessary to ensure my health and safety.”

         300.     Expert Au Pair knew that $195.75 was not the highest amount host

             families could pay au pairs. In its contract with host families, Expert Au Pair

             requires the family to provide the au pair “with his/her pocket money. The

             required minimum is $195.75 for the regular au pair program.”

         301.     Yet on its website, Expert Au Pair shows a static number for the au pair

             stipend:

                                      Program Comparison
   Program      Hours Per Week    Pay Per Week Educational Allowance         Age of Children


   STANDARD 45                    $195.75         $500 per year              Any age




         302.     Expert Au Pair solidifies the misconception that the $195.75 stipend is

             uniform by telling prospective au pair that its program offers “More Money in

             Your Pocket” not by virtue of a flexible weekly wage but rather by charging

             fees that are “significantly lower” than other programs.

         303.

                     f.      Au Pair in America




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   304.      Au Pair in America has a United Kingdom based website aimed at potential

   au pairs from around the world. It strongly emphasizes travel and cultural component of

   the program: “‘Au pair’ means ‘on par’ or equal, which is exactly what you will be – an

   equal member of your host family.”

   305.      Its U.S. based website strongly emphasizes the fact that this is cheap labor

   without bargaining power over scheduling: “No two weeks are the same with most

   households. Hosting an au pair provides the flexibility and convenience you need to

   simplify your life. With an au pair, you will be able to create your own child care

   schedule of up to 10 hours per day and up to 45 hours per week . . . You will receive 45

   hours of child care for just $361 per week, regardless of how many children you have.”

   306.      Both websites show that the stipend is set for the standard program at

   $195.75 including for vacation weeks when no room is provided.

   307.      Au Pair in America knew that this stipend was not the highest amount host

   families could pay au pairs. In fact, Au Pair in America advertised different stipends for

   a small number of au pairs with greater skills at rates above the programmatic wage

   floor.

   308.      Au Pair in America’s website for potential au pairs calls the programs: “Safe

   and Legal” and “One of the most important reasons for choosing Au Pair in America is

   the complete support package we provide you with - which takes the worry out of

   travelling to America, enjoying life there and returning home . . . We support you every

   step of the way!” It promises their agents will “inform, advise and support you and your

   family throughout your stay.” Another part of the website states: “Whether it’s your


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   local interviewer, our head offices or your community counselor, we're all on hand to

   support you throughout your stay in the US.”

   309.      Au Pair in America’s tax advice for au pairs indicates that only the cash wage

   amount and not the lodging is taxable income. Upon information and belief, Au Pair in

   America knows this is only possible because the lodging exists for the convenience of

   the employer, which means it is not eligible as a wage credit.

   310.      Au Pair in America on its website plays up its affiliation with the U.S.

   government to gain the au pairs’ trust with the following self-made seal:




     D.     In Deceiving and/or Misleading Au Pairs, InterExchange, Cultural Care,
            GoAuPair, Au Pair in America, AuPairCare and Expert Au Pair Violated
            the Au Pairs Rights As Consumers.

   311.      Au pairs act as Sponsors’ consumers when they apply or reapply for the

   programs and pay significant fees to the Sponsors and/or the Sponsors’ foreign agents.

   312.      Acting from within the Several States, the Sponsors have tricked au pairs into

   thinking that the $195.75 was a wage legally set in stone when it was in fact a State

   Department programmatic wage floor. The Sponsors knew that this wage was in fact


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   illegal under the laws of many states or acted recklessly in disregarding this truth. They

   did this in order to induce au pairs to sign up with the Sponsors’ programs which would

   increase their market share and profits.

   313.        Au pairs, young adults often with limited English understanding or

   sophistication, put their utmost trust into the Sponsors to tell them the truth and

   justifiably relied on the Sponsors statements when purchasing their services, and by

   traveling to the United States.

   314.        This conduct was unfair and deceptive because au pairs had placed their full

   trust in the Sponsors’ representations that the Sponsors would watch out for the au

   pairs’ interests.

   315.        Because of the differences in sophistication and bargaining power, and the

   seriousness of the commitment, the misrepresentations were unconscionable.

   316.        Because of these unfair and deceptive actions, au pairs have suffered

   damages including the money the au pairs paid the Sponsors and the decreased wages

   attributable to the au pairs’ lack of bargaining power.

IV.       INTEREXCHANGE, CULTURAL CARE, AU PAIR IN AMERICA, GOAUPAIR,
          AUPAIRCARE AND EXPERT AU PAIR EMPLOYED THE AU PAIRS THEY
          SPONSORED AND FAILED TO PAY THEM AT LEAST MINIMUM WAGE FOR
          THE HOURS THEY WORKED

          A.     The Sponsors Employed the Au Pairs

   317.        The Sponsors acted as joint employers with the families and the au pairs

   performed the essential function of the Sponsors.




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   318.          The contracts under which the workers worked were prepared by the

   Sponsors and were identical. These contracts gave the sponsors tremendous power

   over the au pairs. The sponsors bought health insurance for the au pairs.

   319.          They had the power to recruit and hire the au pairs. They trained the au

   pairs.

   320.          The au pairs mostly worked at homes approved by the Sponsors, but also

   worked at the Sponsors’ training sessions and local coordinator sessions directly for the

   sponsors.

   321.          The Sponsors set and promulgated work rules including regarding

   compensation, benefits, and hours. The Sponsors controlled the work schedules by

   implementing the State Department rules, but also by making additional rules and

   adjudicating disputes about schedules, vacations, and stipends.

   322.          The Sponsors in fact set the wage for the au pairs and determined the

   method of payment in terms of money, food, and (illegally under the FLSA) board.

   323.          The Sponsors had the power to fire and remove the au pairs, and in fact

   exercised this power often. Because they set the rules and had the ability to adjudicate

   disputes, and to fire the au pairs, even if the family did not want to. Upon information

   and belief, the families did not have the ability to fire the au pairs without permission

   from the Sponsors, and therefore the Sponsors effectively controlled the relationship.

   324.          The Sponsors kept extensive employee records.

            B.     Each Sponsor Individually Demonstrated Their Control

                    1.     Interexchange


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   325.       InterExchange explains in its au pair blog that “[a]ll au pairs earn a weekly

   stipend of $195.75 per week.”

   326.       In a video about its training program, it emphasizes that it will provide training

   throughout the year.

   327.       In InterExchange’s pro forma extension contract, au pairs promise “I will carry

   out my au pair and childcare duties and other responsibilities to InterExchange, Inc.,

   and the host family to the highest standards and with due respect.“

   328.       In that agreement, the au pairs also agree “I will cooperate fully with those

   supervising the program on behalf of and in cooperation with InterExchange, Inc. and I

   agree to abide by any reasonable instructions they may give me.”

   329.       As set forth below, the InterExchange au pair handbook shows that they have

   ultimate control over the au pairs because they have authority over disputes dealing

   with schedules and duties, they can fire the au pairs for missing mandatory trainings,

   and they can fire au pairs for breaking their rules and that au pair must pay for the

   return ticket:

              •     "Your Local Coordinator is a year-round source of support and should be
                    your first point of contact for all your questions."
              •     "Your Local Coordinator will visit you two weeks after your arrival to your
                    host family’s home and talk to you and your host family about child care
                    and any communication issues. It is also a time to review your duties,
                    responsibilities and the weekly schedule."
              •     "Cluster meetings are a mandatory part of your au pair year, . . . If you do
                    not attend every month, you may be cancelled from the program."
              •     "If you are in transition because of inappropriate behavior, poor English
                    language skills or poor driving ability, it may be difficult to find a new
                    family. If no family can be found within the two week transition period, you
                    will have to return home at your own expense. While most qualified au
                    pairs are re-matched, we cannot guarantee that all au pairs will be able to
                    find a new host family."
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              •   "Au pairs who violate program rules will be cancelled from the program
                  and will have to return home immediately at their own expense"

   330.       Upon information and belief, InterExchange further controls the au pairs work

   by forcing them to pay a completion security deposit which they only receive back if they

   keep working for the full year according to InterExchange’s rules.

                  2.     Cultural Care

   331.       Cultural Care's form agreement with its au pairs requires that au pairs agree

   to the following, including, shockingly a provision requiring termination if an au pair

   becomes pregnant or gets married: “I understand that CC has the exclusive right to

   determine my suitability for acceptance and for my continued participation in the

   Program. I understand that if CC determines that my emotional or physical state does

   not make me suitable for providing quality childcare, I will be removed from the

   Program. I also understand that should I marry or become pregnant while on the

   Program I will also be removed from the Program. If my performance as an au pair and/

   or participation in the program is deemed unsatisfactory by CC for whatever reason, CC

   will reassess my suitability for future placement. I understand that I may be terminated

   from the Program if I do not successfully complete the Program requirements and

   uphold Program expectations for reasons including, but not limited to, the following:

   leaving the host family without prior consent from CC; engaging in behavior that CC

   deems inappropriate during the Program duration, performance reasons including but

   not limited to breaking host family rules, neglectful or inappropriate behavior towards the

   children, etc.; non-participation in training, not fulfilling educational credit, non-

   attendance at monthly meetings, or if I in any way violate this Agreement. I further

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   understand that should it be discovered that I have falsified or withheld critical

   information from my application materials including, but not limited to, health conditions,

   criminal history, educational documentation, childcare experience, etc. I may be

   terminated from the Program. Should I be terminated from the Program because of my

   actions including, but not limited to, those outlined above, I forfeit my return flight to my

   home country and must pay for this flight on my own.”

   332.      Upon information and belief, Cultural Care further controls the au pair work by

   forcing them to pay a completion security deposit which they only receive back if they

   keep working for the full year according to Cultural Care’s rules. Cultural Care also

   does not arrange a flight home for its au pairs unless they complete the full year of the

   au pair program.

   333.      Au Pair in America

   334.      Among other ways, Au Pair in America states its ability to terminate its

   sponsored au pairs’ employment in its “2015 Program Support & Policies”, where it

   states: “The program reserves the right to terminate a relationship with a host family in

   the event of a violation of government regulations and/or pro- gram policies, or if the

   program determines that it is inappropriate for the relationship to continue. Violations

   not tolerated include: not paying or reducing the au pair/companion’s minimum weekly

   stipend; not paying or reducing the au pair/companion’s educational funds; not allowing

   or reducing the au pair/companion’s free time; increasing responsibilities beyond the

   time and scope stipulated by the U.S. government regulations; or not treating the au

   pair/companion appropriately. The program may also terminate a relationship with a


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   host family when the host family’s pro- gram fees are more than 60 days in arrears, or in

   the program’s determination, the host family is not in keeping with the cultural exchange

   spirit of the program. In such cases, the host family will not be granted a replacement or

   refund of program fees.”

   335.      The regulations provide a cap of 45 hours of au pair work a week, which

   allows au pairs the flexibility to negotiate to work less. Au Pair in America's au pair

   terms and conditions require au pairs to agree to work the entire 45 hours to be part of

   the program. An au pair must agree that she "will provide childcare up to 45 hours per

   week."

   336.      Au Pair in America gave a completion bonus to those au pairs that worked

   according to the program rules for the entire year. Since this was basically a kick back

   of the au pair’s application fees, it was functionally a security deposit, and further

   allowed Au Pair in America to control au pair employment.

   337.      The Au Pair in America au pair terms and conditions also require au pairs to

   agree to the following terms, one of which, incredibly, allows Au Pair in America to

   terminate an au pair for becoming pregnant:

                 b) I agree that I will perform my duties as an au pair to
                 the best of my ability and indemnify AIFS, its staff,
                 agents and all affiliated organizations from any
                 damages, losses or claims resulting from my
                 participation in the program.
                 c) I will carry out my childcare and other
                 responsibilities to the host family to the best of my
                 ability and with due respect and will take full
                 advantage of the cultural opportunities and will fulfill
                 the educational requirements in accordance with the
                 rules set out in the brochure, website and online
                 resources.

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                 e) I will co-operate fully with those supervising the
                 program on my behalf for AIFS and I agree to abide
                 by any reasonable instructions they may give me.
                 f) I understand that should a problem arise with my
                 host family, depending on the circumstances Au Pair
                 in America would consider re-matching me with
                 another family but does not guarantee a second
                 placement.
                 g) I understand that should my medical condition limit
                 my ability to perform my duties as an au pair or if I
                 become pregnant prior to departing for the USA or
                 during my participation on the Au Pair in America, Au
                 Pair Extraordinaire or eduCare in America programs,
                 that I will no longer be eligible to participate on any of
                 the Au Pair in America programs.

   338.      Upon information and belief, Au Pair in America provides a form contract

   called a “Host Family and Au Pair/companion Agreement” that it requires its sponsored

   au pairs and hosts to enter into with each other.

                 3.     GoAuPair

   339.      In its agreement with the au pairs it sponsors, GoAuPair requires au pairs to

   "agree to abide by all appropriate regulations and laws of GoAuPair Operations, LLC,

   and the U.S. government" and to "also agree to cooperate with all those supervising the

   program and to abide by any reasonable instruction."

   340.      It then sets outs specific duties for au pairs, including: “[d]aily maintenance of

   the children, including meal preparation, doing the children's laundry, transporting the

   children to various activities, assisting with homework, playing, teaching and caring for

   the children. 2. Minor housekeeping, including but not limited to, washing the children's

   dishes, tidying up the children's rooms and making their beds, vacuuming and dusting




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   the children's rooms and cleaning their bathrooms. In addition, I agree to pick up after

   the children in any room in which they have played.”

   341.       Upon information and belief, GoAuPair further controls the au pairs work by

   forcing them to pay a completion security deposit which they only receive back if they

   keep working for the full year according to GoAuPair’s rules. GoAuPair also does not

   arrange a flight home for its au pairs unless they complete the full year of the au pair

   program.

                   4.   AuPairCare

   342.       In its agreement with the au pairs it sponsors, AuPairCare retains the

   exclusive right to determine the au pair’s suitability to participate in the program, not

   only before but continuing throughout the au pair’s participation. AuPairCare restricts

   eligibility to au pairs who are not married, engaged to be married, or who have children

   of their own.

   343.       In 2016, AuPairCare exercised its exclusive control over an au pair in the

   Washington D.C. area by ordering her to return to Colombia when she was diagnosed

   with cancer, despite the fact that her host family wanted her to stay on as their au pair.

   344.       Despite there being no regulatory requirement mandating that the au pair be

   sent home, the Washington Post report that, “[i]n a May 13 email to [the au pair],

   AuPairCare regional manager Carol Eaton wrote: ‘As your health has changed due to

   the diagnosis of lymphoma, it is our policy that participants focus on their own recovery

   and not continue as caregivers. Unfortunately, we have to end your participation in the

   au pair program. This is not an easy decision or one we take lightly, but policy that has


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   been made through years of experience dealing with the health, safety and welfare of

   au pair participants and host children.’”

   345.      Ultimately, after the intervention of a U.S. Congressman and a Change.org

   petition, AuPairCare allowed the au pair to stay in the United States pending a change

   in her visa status.

   346.      In response to AuPairCare’s treatment of the au pair, the Washington Post

   quoted the host family as saying that, in reference to AuPairCare, “[t]he J-1 employer

   has all the power.”

   347.      In the event disputes arise between the au pair and the host family over hours

   or job duties, AuPairCare reserves the right to resolve such disputes.

   348.      AuPairCare’s contract with its au pairs forbid the au pair from operating a cell

   phone while driving (without a handheld device and permission from the host family);

   sending or receiving inappropriate content, including text messages, while in the host

   family home; and smoking or consuming alcohol, at all if under the age of 21 or

   otherwise in excess. The penalty for violating AuPairCare’s prohibition on any of these

   activities may be termination from the program and immediate repatriation.

   349.      AuPairCare’s contract further requires the au pair to waive any claim of

   privacy with respect to the use of recording devices, such as a nanny cam.

   350.      Finally, AuPairCare sets the wages for its au pair, as AuPairCare’s contract

   states that the au pair will receive a stipend in accordance with the U.S. Department of

   State Regulations in the amount of $195.75. The lack of ambiguity of this statement

   leaves an au pair with no doubt that the stipend is uniform.


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                  5.     Expert Au Pair

   351.       In its agreement with the au pairs it sponsors, Expert Au Care establishes

   minimum requirements for its applicants, among them, the commitment “to complete 32

   hours of child care courses provided by Expert AuPair.” In its description of “working

   conditions,” Expert Au Pair reserves the right to review complaints regarding the au

   pair’s performance of job responsibilities and expressly retains the right to “take action

   against” the au pair, including rematch or termination from the program.

   352.       Expert Au Pair not only requires its au pairs to agree to meet regularly with

   their local and regional representatives, it includes a penalty provision in the agreement

   under which its au pair agree that if they “fail to communicate with the Local

   Representative and/or the Regional Representative [from Expert Au Pair] each month

   and in a timely fashion, [they] may forfeit [their] paid airfare home and have to pay for

   [their] own transportation back to [their] home country.”

   353.       Expert Au Pair further exerts control over the regular activities of its au pairs

   under the threat of forfeiting their return flight if the au pair smokes in the host family’s

   house, presents for work under the influence of alcohol, or fails to complete the

   educational requirement. And even though it is Expert Au Pair, not the host family, that

   controls the decision to forfeit the return airfare, the contract between Expert Au Pair

   and the host family gives Expert Au Pair the right to keep the funds that the family paid

   for the airfare.

   354.       In its form contracts between au pair and the host family, Expert Au Pair

   determines the manner in which the family may discipline the au pair, and requires


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   notification of such discipline to the local Expert Au Pair representative. Similarly Expert

   Au Pair requires that two weeks notice be provided in the event of termination, by either

   parties, but permits the family to offset fees or charges owed by the au pair from the

   final paycheck.

          C.     The Sponsors Failed to Pay the Au Pairs Minimum Wage or Overtime

   355.        Defendants Interexchange, Cultural Care, Au Pair in America, AuPairCare

   and Expert Au Pair all have a single tier au pair program where the sponsors instruct

   the hosts to pay $195.75 per week for 45 hours of work. This is $4.35 per hour.

   356.        Defendant GoAuPair has a tiered system where a small amount of higher

   skilled au pairs are paid more than $195.75 per week. For the lowest tier, GoAuPair

   instructs hosts to pay $195.75 per week.

   357.        The federal minimum wage has been $7.25 per hour since 2009.

   358.        The majority of states and the District of Columbia have a state/district-

   specific minimum wage that is higher than the federal minimum wage.

   359.        $195.75 per week fails to compensate au pairs at federal minimum wage, and

   does not compensate sufficiently for the higher state and District of Columbia minimum

   wages.

   360.        Since January 1, 2015, third party employers of au pairs are required to pay

   federal overtime for hours worked in excess of 40 in a week. The $195.75 per week

   fails to provide any overtime for the 45 hours per week for which au pairs must be paid.

   Sponsors, as third party employers, must pay that overtime and fail to do so.




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   361.        Defendants Interexchange, Cultural Care, Au Pair in America, GoAuPair,

   AuPairCare and Expert Au Pair also require au pairs to participate in roughly a week of

   training before joining their host familes. This week of training is entirely for the benefit

   of the employer and illegally goes entirely uncompensated. All sponsors require

   additional unpaid training throughout the year.

   362.        These Defendants also required their au pairs to attend meetings with the

   sponsors’ local agents and did not compensate the au pairs for these meetings.

   363.        The Sponsors are liable for all minimum wage and overtime deficiencies.

 V.       THE NAMED PLAINTIFFS’ SUFFERED AS A RESULT OF DEFENDANTS’
          WRONGFUL ACTIONS

          A.    Ms. Beltran’s Experience in the Au Pair Program

   364.        Ms. Beltran is originally from Bogotá, Colombia.

   365.        In or about early 2011, Ms. Beltran went to an office operated by Defendant

   InterExchange, or an agent of InterExchange, in downtown Bogotá to apply to become

   an au pair in the United States.

   366.        Ms. Beltran filled out an application and paid InterExchange or its agents

   approximately $2,500. No one ever told Ms. Beltran what the $2,500 covered. Ms.

   Beltran found the web of subcontractors, agents, employees, and other entities affiliated

   with InterExchage difficult to understand.

   367.        InterExchange or its agents told Ms. Beltran that in order to become an au

   pair she would have to take classes in English, take a course to get her driver’s license,

   get first aid training, and take a swimming class. She also was instructed to take two



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   semesters at a post-secondary school, where she took one class per semester, and

   which she believes was a J-1 visa requirement.

   368.      Ms. Beltran did all of this from 2011 until early 2012.

   369.      Upon information and belief, sometime during this time InterExchange

   created a website advertising Ms. Beltran as an au pair for families in the United States.

   370.      In early 2012, Ms. Beltran interviewed with three or four families via Skype

   and/or telephone. One of these families was the Noonans.

   371.      For roughly the first half of 2012, Ms. Beltran was in touch with the Noonans

   about becoming their au pair.

   372.      Ms. Beltran understands that at some point the Noonans decided that they

   wanted Ms. Beltran to be their au pair and indicated this to InterExchange.

   373.      InterExchange then contacted Ms. Beltran and formally interviewed her. They

   asked her questions regarding her ability to provide childcare. At the end of the

   interview, InterExchange told Ms. Beltran that she was qualified to work for the Noonans

   and InterExchange facilitated a J-1 visa interview for Ms. Beltran at the United States

   embassy in Bogotá.

   374.      In or around May 2012, Ms. Beltran received her J-1 visa.

   375.      In August 2012, InterExchange flew Ms. Beltran from Bogotá to New York,

   New York.

   376.      In New York, InterExchange put Ms. Beltran in a hotel with roughly 50 other

   au pairs. Ms. Beltran and the other au pairs participated in a week-long by

   InterExchange in childcare skills.


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   377.      Ms. Beltran and the other au pairs were not paid anything for the week of

   childcare training in New York.

   378.      The week of childcare training was mandatory and directly related to au pair

   childcare duties.

   379.      After that week, Ms. Beltran flew to Denver and went to the Noonan’s house

   to be an au pair.

   380.      Ms. Beltran was given a room in the Noonan’s basement and began her work.

   381.      After Ms. Beltran arrived in Denver, an Agent of Interexchange from New

   York called Ms. Beltran to check in on her.

   382.      During her time in Denver, Ms. Beltran attended a meeting with other au pairs

   and an agent of InterExchange. There was one meeting like this scheduled each month

   by InterExchange, but Ms. Beltran only went to one because the Noonans would not

   take her to the others.

   383.      No one from InterExchange ever came to the Noonan’s house to check on

   Ms. Beltran.

   384.      During her time working for the Noonans, Ms. Beltran performed both

   childcare and house work.

   385.      In addition to her childcare duties, Ms. Beltran cleaned for the entire family (2

   adults and 2 children), cooked dinner for the entire family nearly every night, did laundry

   for the entire family, made the family’s beds, packed and unpacked luggage for the

   children and Ms. Noonan before and after trips, cleaned Ms. Noonan’s car on a daily

   basis, brought the groceries in from the car when Ms. Noonan went shopping, gardened


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   (i.e., by cutting roses and picking apples), and cared for the Noonans’ approximately 8

   chickens (i.e., by feeding, watering, and cleaning the coop).

   386.      The Noonans did not furnish Ms. Beltran with three meals per day.

   387.      Ms. Beltran prepared dinner for the Noonan family nearly every night. Ms.

   Beltran was not allowed to eat with the Noonans. Sometimes there were leftovers for

   Ms. Beltran to eat after the Noonans’ dinner, but sometimes there were no leftovers,

   and Ms. Beltran had to prepare her own dinner.

   388.      One week Ms. Noonan failed to purchase food for Ms. Beltran. Ms. Noonan

   gave Ms. Beltran leftover pizza from one of the Noonans’ parties and that is all Ms.

   Beltran had for dinner that whole week.

   389.      Ms. Beltran worked Monday through Saturday, and sometimes on Sunday.

   390.      Ms. Beltran worked at least 8 hours a day Monday-Friday, and sometimes 9

   or ten hours.

   391.      On Saturday and Sunday she worked for approximately 4 hours each day.

   392.      Ms. Noonan maintained a schedule for Ms. Beltran’s work, but Ms. Noonan

   did not keep track of the hours. Ms. Beltran was expected to, and frequently did, work

   more hours than were scheduled.

   393.      The Noonans always paid Ms. Beltran exactly $195.75 for each week Ms.

   Beltran worked, with no withholding.

   394.      In the second half of November 2012, Ms. Beltran decided she wanted to

   leave the Noonans and told the Noonans this.




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   395.        Ms. Beltran understands that Ms. Noonan then contacted InterExchange and

   someone came to the Noonan’s house, had Ms. Beltran sign something that she did not

   understand, and Ms. Beltran left.

          B.    Ms. Hlatshaneni’s Experience in the Au Pair Program

   396.        Ms. Hlatshaneni is originally from Cape Town, South Africa.

   397.        In In 2012, during her third year of college, Ms. Hlatshaneni decided she

   wanted to spend the next year abroad in the United States.

   398.        She went to African Ambassadors’ office in Cape Town and applied to be an

   au pair. On information and belief, African Ambassadors is an agent of Defendant Au

   Pair in America that recruits au pairs for Au Pair in America.

   399.        Ms. Hlatshaneni went through African Ambassador’s screening process,

   matched with a family in the United States, and interviewed with United States officials

   in Cape Town for a J-1 Visa.

   400.        African Ambassadors told Ms. Hlatshaneni that her stipend would be exactly

   $195.75.

   401.        Ms. Hlatshaneni paid African Ambassadors roughly $800, which she

   understood to include payment for part of her flight to the United States, payment

   towards health insurance in the United States, and a $100 to $200 “administration fee”

   to African Ambassadors.

   402.        Ms. Hlatshaneni’s visa application was approved and in or about late

   February 2013, she flew from South Africa to New York.




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   403.       Ms. Hlatshaneni and many other new au pairs sponsored by Au Pair in

   America spent a week together at a hotel in Tarrytown, New York where agents of Au

   Pair in America trained the new au pairs in childcare skills.

   404.       At the training, Ms. Hlatshaneni and the other au pairs were told that they

   could not accept more than a stipend of $195.75 a week from their families and that if

   they accepted more money they might be deported.

   405.       Ms. Hlatshaneni and the other au pairs were not paid anything for their

   training in Tarrytown.

   406.       The week of childcare skills training was mandatory and directly related to au

   pair childcare duties.

   407.       After the week of training, Ms. Hlatshaneni traveled to Virginia where she met

   her family and began working as an au pair.

   408.       Ms. Hlatshaneni’s Virginia family paid her exactly $195.75 per week and they

   told Ms. Hlatshaneni that Au Pair in America warned them that paying Ms. Hlatshaneni

   more than $195.75 was not permitted.

   409.       Because their children started school, Ms. Hlatshaneni’s Virginia family no

   longer needed an au pair after one year and Ms. Hlatshaneni was matched with a new

   family in California.

   410.       In or about February of 2014, Ms. Hlatshaneni traveled to California and

   began working as an au pair for her new family.

   411.       Ms. Hlatshaneni’s California family also told her that Au Pair in America

   warned them that they could only pay the $195.75 stipend amount, although they


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   routinely rounded up and paid Ms. Hlatshaneni $200 in cash, for convenience, and on

   the assumption that Au Pair in America would not find out about the cash payments.

   412.        Ms. Hlatshaneni will be with her California family until approximately late

   February 2015.

          C.    Ms. Deetlefs’ Experience in the Au Pair Program

   413.        Ms. Deetlefs is originally from just outside of Cape Town, South Africa.

   414.        In or about June 2014, Ms. Deetlefs decided she wanted to be an au pair.

   415.        Ms. Deetlefs saw an advertisement in the paper from Cultural Care or one of

   its agents, responded to the ad, and went to Cultural Care’s office in Cape Town for an

   information session.

   416.        At the information session, they told Ms. Deetlefs that the $195.75 stipend

   was a minimum, that some families might pay $200 because it’s easier, and that the

   $500 for a education was sufficient to pay for almost any class she wanted.

   417.        At the end of the information session, she had a formal interview and was

   accepted by Cultural Care.

   418.        Ms. Deetlef created an online profile, interviewed with families, and when she

   matched, paid Cultural Care roughly $900. Ms. Deetlef understood this payment to

   cover services to help find a family and for basic health insurance.

   419.        Ms. Deetlef went to the United States embassy, got her visa, and received

   flight information from Cultural Care.

   420.        In or about 8/18/2014, Ms. Deetlef flew from Cape Town to New York.




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   421.      Ms. Deetlef spent roughly one week in New York being trained by Cultural

   Care. Ms. Deetlef was not paid for the training.

   422.      This week of training was mandatory and directly related to Ms. Deetlef’s au

   pair childcare duties.

   423.      At training, agents of Cultural Care told Ms. Deetlef and the other au pairs in

   training that the au pair stipend is exactly $195.75 per week and no more.

   424.      After the training, Ms. Deetlef went to Utah to live with her host family.

   425.      At the host family’s home, Ms. Deetlef lives in the basement.

   426.      Ms. Deetlef has received exactly $195.75 per week by direct deposit each

   week since she’s been with her family.

   427.      There was never a discussion with her family about how much Ms. Deetlef

   should be paid.

   428.      Ms. Deetlef’s family told her that they paid $195.75 per week because that’s

   what Cultural Care told them to pay her.

   429.      At least 3 times, Ms. Deetlef’s family has gone on vacation, left Ms. Deetlef at

   the families’ home alone, and not provided food for Ms. Deetlef while they were gone.

   430.      Ms. Deetlef has taken one week of paid vacation and plans to take another.

   The family asked her to take that particular week off because the family had family from

   out of town available to take care of the children

   431.      During that week off, Ms Deetlef was paid only $195.75 and she stayed at her

   host family’s home during the vacation because she could not afford to go anywhere

   else.


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   432.         When Ms. Deetlef first began work with her host family, she had a midnight

   curfew. The family subsequently removed the curfew.

   433.         Ms. Deetlef’s visa will expire in or about August 2015.

           D.    Ms. Cardenas Caicedo’s Experience in the Au Pair Program

   434.         Ms. Cardenas is originally from Bucaramanga, Colombia.

   435.         She became interested in the au pair program because she wanted to travel

   abroad and improve her English.

   436.         Ms. Cardenas attended an information session with an agent of Cultural Care

   in Bucaramanga.

   437.         At the information session they told her the stipend would be exactly $195.75

   per week.

   438.         After the information session, Ms. Cardenas agreed to become an au pair

   with Cultural Care and Cultural Care matched her with a family in Chicago

   439.         A few weeks prior to her leaving Colombia for the United States, Cultural

   Care told Ms. Cardenas that the Chicago family would not work because they were

   moving to an area of the United States that Cultural Care did not cover.

   440.         Cultural Care then matched Ms. Cardenas with a different family, this one

   located in New Jersey.

   441.         In or about late June 2014 Ms. Cardenas flew from Bogota to New York.

   442.         Ms. Cardenas spent roughly one week being trained in New York by Cultural

   Care.

   443.         Ms. Cardenas was paid nothing for the training.


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   444.        This training was mandatory and directly related to Ms. Cardenas’ au pair

   childcare duties.

   445.        After the training, Ms. Cardenas took a bus to New Jersey where she met the

   first family for whom she provided au pair services.

   446.        Ms. Cardenas was unhappy with this first family because they did not allow

   her to use a car, which they had previously promised, and the child she was caring for

   was difficult.

   447.        After approximately 1.5 weeks, Ms. Cardenas told the family and Cultural

   Care that she would prefer to be with a different family.

   448.        Cultural Care matched her with another family in Pennsylvania and in or

   about July 2014, Ms. Cardenas traveled to Pennsylvania and is currently working as an

   au pair for the Pennsylvania family.

   449.        Ms. Cardenas is currently paid exactly $195.75 per week.

          E.    Ms. Ivette Gonzalez’s Experience in the Au Pair Program

   450.        Ms. Ivette is originally from Bogota, Colombia.

   451.        In or about October 2013 Ms. Ivette went to an agency in Bogotá called

   Intercambio E tourismo LTDA (“Intercambio”), or something with a similar name.

   452.        A person there explained everything about the J-1 au pair program, including

   that she would be paid exactly $195.75 per week for 45 hours of work.

   453.        Ms. Ivette paid roughly $1,600 to Intercambio, $1,000 of which was an

   administrative fee and $600 of which was a completion deposit that would be returned

   to her when she finished being an au pair and returned from the United States


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   454.      Intercambio offered to help Ms. Ivette find an au pair position through either

   Defendant GoAuPair or Defendant EurAuPair.

   455.      Ms. Ivette applied to both and both accepted her. She was indifferent

   between the two because they both offered the exact same weekly payment of $195.75.

   456.      Ms. Ivette eventually chose GoAuPair because it was more responsive to her

   questions, and GoAuPair matched her with a family in Maryland.

   457.      Before coming to the United States, Go Au Pair required Ms. Ivette to

   complete roughly one week of training. Ms. Ivette was paid nothing for this training.

   458.      This training was mandatory and directly related to au pair childcare duties.

   459.      In or about July 2014, Ms. Ivette flew to Baltimore, Maryland and began

   working for her family as an au pair.

   460.      The family paid $200 per week.

   461.      The family set a curfew for Ms. Ivette that required her to be home 7 hours

   before her childcare duties started.

   462.      Ms. Ivette was unhappy with her the working conditions.

   463.      The parents left early each morning, requiring Ms. Ivette to start caring for the

   infant child at 4 a.m. each weekday.

   464.      Moreover, the family lived in the suburbs and did not allow Ms. Ivette to use a

   car.

   465.      Ms. Ivette felt isolated and alone.

   466.      In or about January 2015, Ms. Ivette got into a heated argument with the

   mother of the family about her curfew.


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   467.        The next morning, the mother told Ms. Ivette to get out of the house, called

   someone to pick her up, and to not return. She remains completely unpaid for two

   weeks of work.

   468.        GoAuPair agreed to help Ms. Ivette find a new family, but would not provide

   food or a place to stay.

   469.        Ms. Ivette had to stay with friends for a few weeks, GoAuPair was

   unsuccessful in finding Ms. Ivette a new family and she eventually had to borrow money

   from a friend to fly back to Colombia.

          F.    Ms. Rascon’s Experience in the Au Pair Program

   470.        Ms. Rascon is originally from Mexico.

   471.        Ms. Rascon applied to Cultural Care’s au pair program in late 2013.

   472.        Ms. Rascon selected Cultural Care because of the advertising she saw in

   Mexico by Cultural Care, which promised her the “best year” of her life.

   473.        A representative of Cultural Care told Ms. Rascon that she would work up to

   45 hours per week and be paid $195.75 USD. She told Ms. Rascon it would not make a

   difference how many hours she actually worked or which family she paired with; the

   amount was always the same.

   474.        Ms. Rascon paid Cultural Care approximately $1500 USD in fees to

   participate in the program. She also separately had to pay for her airfare (approximately

   $381USD) and to apply for her visa ($180USD).

   475.        Ms. Rascon matched with a family in Boston, Massachusetts.




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   476.        In January 2014, Ms. Rascon traveled to New York City, where she

   participated in Cultural Care’s mandatory three-day training. She attended the training,

   which instructed all au pairs on the performance of their duties as an au pair.

   477.        Ms. Rascon was not paid to attend Cultural Care’s mandatory training.

   478.        Ms. Rascon then took a bus to Boston and began working as an au pair.

   479.        Her host family paid her $195.75 every week. Ms. Rascon worked up to 45

   hours every week. She was not compensated extra for hours she worked in excess of

   forty per week.

   480.        In May 2014, Ms. Rascon rematched with a family in Maryland. Her second

   family similarly paid her $195.75 per week.

   481.        Ms. Rascon was verbally attacked and threatened by her host mother. Ms.

   Rascon contacted her representative with Cultural Care but received no help or support.

   482.        She was told by one Cultural Care representative to accept the abusive

   treatment. Another representative of Cultural Care acknowledged that such

   circumstances do exist, and recommended that Ms. Rascon deal with the threats by

   locking herself in her bedroom.

   483.        Ms. Rascon rematched again with a family in Virginia. Her third host mother

   paid her $200 per week, and expressed to Ms. Rascon that she believed her labor was

   worth more than that.

          G.    Ms. Jimenez’s Experience in the Au Pair Program

   484.        Ms. Jimenez is originally from Colombia.




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   485.      In or about early 2014, Ms. Jimenez applied to and was hired by AuPairCare

   through its agent in Colombia.

   486.      Ms. Jimenez considered several different agencies, including Cultural Care,

   Au Pair in America, and AuPairCare.

   487.      Because publicly available information from those sponsors all informed her

   that she would be paid the same amount no matter which one accepted her application,

   Ms. Jimenez did not base her selection of AuPairCare based on her potential to earn a

   particular wage.

   488.      AuPairCare’s Colombian agent told Ms. Jimenez that the “stipend” for working

   in the United States as an au pair would be $195 and that, because the amount was set

   by the United States Government, she would be paid that amount.

   489.      That agent assured her that this would equal a lot of money in Colombia.

   490.      In or about July 2014, Ms. Jimenez flew to New York, New York before

   traveling to New Jersey for approximately 4 days of training by AuPairCare. She was

   not paid to attend this training, which provided instruction on her duties as an au pair.

   491.      At the training, an AuPairCare representative told her that the stipend was

   $195.75, and that that all au pairs were paid the same, no matter where they work and

   no matter how many children they care for.

   492.      After training, she was picked up by her host family and traveled to or near

   Philadelphia, Pennsylvania, where her host family lived.

   493.      Ms. Jimenez’s host family paid her $200 each week. She worked 45 hours

   each week. She was not paid extra for time over forty hours each week.


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   494.        Occasionally her host family left her with the children, in excess of 45 hours

   per week. When they did so, the family paid her $10 per hour for hours worked in

   excess of 45 in a week.

          H.    Ms. Harning’s Experience in the Au Pair Program

   495.        Ms. Harning is originally from Germany.

   496.        Ms. Harning first applied to the au pair program in 2007. She selected

   AuPairCare because it advertised the lowest application fees, and at the time, featured

   a rebate that would refund half of those fees upon successful completion of the

   program.

   497.        Ms. Harning did not base her decision to apply to AuPairCare on how much

   she could earn as an au pair, because publicly available information told her that she

   would be paid the same amount in all of the programs.

   498.        Ms. Harning paid approximately 400 Euros to AuPairCare to apply to the

   program. She additionally paid $100 USD to apply for her visa to the United States.

   499.        She traveled from Germany to New Jersey in July 2008. Upon arrival she

   participated in the mandatory three-day training presented by AuPairCare. She was not

   paid to attend the training, which provided instruction on the duties she would be

   expected to perform. At the training, an AuPairCare representative explained that all au

   pairs would be paid the same, an amount set by the Department of State.

   500.        Ms. Harning then traveled to Michigan to begin working as an au pair. Her

   host family had six children, including two sets of twins: infants and two-year olds.




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   501.        Several months into her experience, Ms. Harning became responsible for the

   host family children around the clock, seven days a week, as her host father was

   hospitalized and host mother remained with him at the hospital.

   502.        Ms. Harning worked well in excess of 40 and even 45 hours every week, and

   more than 10 hours a day. She was not compensated for her time worked in excess of

   40 hours.

   503.        The entire time Ms. Harning worked as an au pair in 2008, she was always

   paid the minimum stipend, which amount changed while she was in the program.

   504.        Ms. Harning returned to the United States in 2014, again as an au pair with

   AuPairCare. Ms. Harning paid approximately 350 Euros to AuPairCare in October 2013

   to apply to its program.

   505.        Though Ms. Harning had previously attended the AuPairCare training, she

   again attended the training mandated by AuPairCare in New Jersey. She attended not

   only the basic three-day training but a fourth day focused on infant care, requested by

   her new host family.

   506.        At the training, AuPairCare representatives told Ms. Harning and the other au

   pairs that they would be paid $195.75 per week.

   507.        Ms. Harning then traveled to Virginia where she worked with her new host

   family and their infant daughter. Ms. Harning was paid $200 per week in cash. Her host

   mother acknowledged that she was only supposed to pay her $195.75, but asked Ms.

   Harning not to give them back the few dollars in change.




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   508.        Ms. Harning consistently worked more than 40 hours per week. She was not

   paid extra for her time in excess of 40 hours per week, though upon occasion, if her

   host mother ran late to relieve her, her host mother gave her extra money for that time.

          I.    Ms. Mapledoram’s Experience in the Au Pair Program

   509.        Ms. Mapledoram is originally from Australia.

   510.        Ms. Mapledoram applied to Expert Au Pair in January 2014. Before applying,

   Ms. Mapledoram investigated other au pair agencies, and saw that all three agencies

   advertised that her wages would be $195.75 per week.

   511.        Thus she based her selection of which agency to apply to not on the basis of

   what she could potentially earn as an au pair.

   512.        Ms. Mapledoram paid approximately $500 USD to Expert Au Pair to apply to

   the program. She had to additionally contribute $500 USD for her own airfare, and paid

   $265 USD to apply for her visa.

   513.        Ms. Mapledoram attended training mandated by Expert Au Pair in Florida in

   April 2014. At the training, which provided instruction on her performance of her duties

   as an au pair, she and the other au pairs were told that they would all be paid the same

   weekly stipend, and that the amount was set by the Department of State. They were

   told by representatives of Expert Au Pair that the amount they were paid would not

   depend on the number of children they cared for or number of hours they worked.

   514.        Upon completion of her training, Ms. Mapledoram flew to Colorado and began

   working as an au pair. She worked up to 10 hours a day and a minimum of 45 hours per




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   week. She was not compensated extra for the time she worked in excess of 40 hours

   per week. She was paid $195.75 every week no matter how many hours she worked.

   515.      In February 2015, Ms. Mapledoram rematched with a family that was also

   located in Colorado.

   516.      Her second host family paid her $200 per week. Her host family told her that

   they were only supposed to pay her $195.75, but they elected to round it to $200.

   517.      As with her first host family, Ms. Mapledoram worked a minimum of 45 hours

   per week with her second host family. She was not compensated for the hours she

   worked in excess of 40 per week.

   518.      Ms. Mapledoram became acquainted with other au pairs while she was

   working in the United States. To her knowledge, none were paid more than $200 per

   week, based on the minimum stipend of $195.75.



                               RULE 23 CLASS ALLEGATIONS

   519.      The Plaintiffs incorporate by reference all previous paragraphs of this

   Complaint as if fully re-written herein.

   520.      The Plaintiffs assert Counts I-VII and IX-X as class action claims pursuant to

   Fed. R. Civ P. 23.

   521.      Pending any modifications necessitated by discovery, the named Plaintiffs

   define the “Price Fixed Class” as follows:

                 ALL PERSONS SPONSORED BY ANY SPONSOR
                 DEFENDANT TO WORK AS A STANDARD AU PAIR IN
                 THE UNITED STATES PURSUANT TO A J-1 VISA.


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   522.      Pending any modifications necessitated by discovery, Ms. Beltran defines the

   “Interexchange National Wage Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT INTEREXCHANGE, INC. WAS A J-1 VISA
                SPONSOR AND WHO PERFORMED AU PAIR WORK IN A
                STATE WHERE THE STATE MINIMUM WAGE IS
                GREATER THAN THE FEDERAL MINIMUM WAGE.

   523.      Pending any modifications necessitated by discovery, Mmes. Deetlefs,

   Cardenas and Rascon define the “Cultural Care National Wage Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT CULTURAL CARE, INC. D/B/A CULTURAL
                CARE AU PAIR WAS A J-1 VISA SPONSOR AND WHO
                PERFORMED AU PAIR WORK IN A STATE WHERE THE
                STATE MINIMUM WAGE IS GREATER THAN THE
                FEDERAL MINIMUM WAGE.

   524.      Pending any modifications necessitated by discovery, Ms. Hlatshaneni

   defines the “Au Pair in America National Wage Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT AMERICAN INSTITUTE FOR FOREIGN
                STUDY DBA AU PAIR IN AMERICA WAS A J-1 VISA
                SPONSOR AND WHO PERFORMED AU PAIR WORK IN A
                STATE WHERE THE STATE MINIMUM WAGE IS
                GREATER THAN THE FEDERAL MINIMUM WAGE.

   525.      Pending any modifications necessitated by discovery, Ms. Ivette defines the

   “GoAuPair National Wage Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT GOAUPAIR WAS A J-1 VISA SPONSOR
                AND WHO PERFORMED AU PAIR WORK IN A STATE
                WHERE THE STATE MINIMUM WAGE IS GREATER THAN
                THE FEDERAL MINIMUM WAGE.




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   526.      Pending any modifications necessitated by discovery, Mmes. Jimenez and

   Harning define the “AuPairCare National Wage Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT AUPAIRCARE, INC. WAS A J-1 VISA
                SPONSOR AND WHO PERFORMED AU PAIR WORK IN A
                STATE WHERE THE STATE MINIMUM WAGE IS
                GREATER THAN THE FEDERAL MINIMUM WAGE.

   527.      Pending any modifications necessitated by discovery, Ms. Mapledoram

   defines the “Expert Au Pair National Wage Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT EXPERT GROUP INTERNATIONAL, INC.
                D/B/A EXPERT AU PAIR WAS A J-1 VISA SPONSOR AND
                WHO PERFORMED AU PAIR WORK IN A STATE WHERE
                THE STATE MINIMUM WAGE IS GREATER THAN THE
                FEDERAL MINIMUM WAGE.


   528.      Pending any modifications necessitated by discovery, Ms. Beltran defines the

   “Interexchange New York Wage Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT INTEREXCHANGE, INC. WAS A J-1 VISA
                SPONSOR.

   529.      Pending any modifications necessitated by discovery, Ms. Hlatshaneni

   defines the “Au Pair in America New York Wage Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT AMERICAN INSTITUTE FOR FOREIGN
                STUDY DBA AU PAIR IN AMERICA WAS A J-1 VISA
                SPONSOR.

   530.      Pending any modifications necessitated by discovery, Mmes. Deetlefs,

   Cardenas, and Rascon define the “Cultural Care New York Wage Class” as follows:



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                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT CULTURAL CARE, INC. D/B/A CULTURAL
                CARE AU PAIR WAS A J-1 VISA SPONSOR.

   531.      Pending any modifications necessitated by discovery, Ms. Ivette defines the

   “GoAuPair New York Wage Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT GOAUPAIR WAS A J-1 VISA SPONSOR.

   532.      Pending any modifications necessitated by discovery, Mmes. Jimenez and

   Harning define the “AuPairCare New Jersey Wage Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT AUPAIRCARE WAS A J-1 VISA SPONSOR.

   533.      Pending any modifications necessitated by discovery, Ms. Beltran defines the

   “InterExchange Fraud Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT INTEREXCHANGE, INC.WAS A J-1 VISA
                SPONSOR.

   534.      Pending any modifications necessitated by discovery, Ms. Hlatshaneni

   defines the “Au Pair in America Fraud Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT AMERICAN INSTITUTE FOR FOREIGN
                STUDY DBA AU PAIR IN AMERICA WAS A J-1 VISA
                SPONSOR.

   535.      Pending any modifications necessitated by discovery, Mmes. Deetlefs,

   Cardenas, and Rascon define the “Cultural Care Fraud Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT CULTURAL CARE, INC. D/B/A CULTURAL
                CARE AU PAIR WAS A J-1 VISA SPONSOR.



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   536.      Pending any modifications necessitated by discovery, Ms. Ivette defines the

   “GoAuPair Fraud Class” as follows:

                 ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                 DEFENDANT GOAUPAIR WAS A J-1 VISA SPONSOR.

   537.      Pending any modifications necessitated by discovery, Mmes. Jimenez and

   Harning define the “AuPairCare Fraud Class” as follows:

                 ALL CURRENT AND FORMER AU PAIRS FOR WHOM DEFENDANT
                 AUPAIRCARE WAS A J-1 VISA SPONSOR.

   538.      Pending any modifications necessitated by discovery, Ms. Mapledoram

   defines the “Expert Au Pair Fraud Class” as follows:

                 ALL CURRENT AND FORMER AU PAIRS FOR WHOM DEFENDANT
                 EXPERT AU PAIR WAS A J-1 VISA SPONSOR.

   539.      The members of each classes are so numerous that joinder of all potential

   class members is impracticable. The Plaintiffs do not know the exact size of the classes

   since that information is within the control of the Sponsor Defendants. However,

   according to the Secretary of State’s J-1 visa statistics, there were 13,789 J1 au pairs in

   the United States in 2013. These persons make up a portion of the Price Fixing Class

   and, based on these statistics, a conservative estimate of the size of the class is at least

   50,000 current and former au pairs. According to the same statistics, over 13,000 au

   pairs come to the United States each year and there are 15 au pair visa sponsors.

   Based on these numbers, Plaintiffs estimate that there are at least 1,000 members in

   each of the New York wage classes and national wage classes defined above. The

   exact sizes of the classes will be easily ascertainable from the Sponsor Defendants’

   records and government records.

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   540.       There are questions of law or fact common to the classes that predominate

   over any individual issues that might exist. Common questions of law and fact include

   whether or not the au pair sponsors all engaged in a price fixing conspiracy in order to

   keep au pair wages low and whether or not au pairs were paid at least the applicable

   federal and/or state minimum wage.

   541.       The class claims asserted by Plaintiffs are typical of the claims of all of the

   potential Class Members because all potential Class Members experienced the same or

   similar pay as a result of Defendants’ conspiracy. A class action is superior to other

   available methods for the fair and efficient adjudication of this controversy because

   numerous identical lawsuits alleging similar or identical causes of action would not

   serve the interests of judicial economy.

   542.       Plaintiffs will fairly and adequately protect and represent the interests of the

   class. Plaintiffs’ wages were artificially kept at the same low level as other au pairs as a

   result of the same conspiracy among the Sponsors, Plaintiffs were paid less than the

   applicable federal and state minimum wage during their time as an au pairs, and

   Plaintiffs were not paid at all for their training.

   543.       Plaintiffs are represented by counsel experienced in litigation on behalf of

   low-wage workers and in class actions.

   544.       The prosecution of separate actions by the individual potential Class

   Members would create a risk of inconsistent or varying adjudications with respect to

   individual potential Class Members that would establish incompatible standards of

   conduct for Defendants.


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  545.       Each Class Member’s claim is relatively small. Thus, the interest of potential

  Class Members in individually controlling the prosecution or defense of separate actions

  is slight. In addition, public policy supports the broad remedial purposes of class

  actions in general.

  546.       Plaintiffs are unaware of any members of the putative class who are

  interested in presenting their claims in a separate action.

  547.       Plaintiffs are unaware of any pending litigation commenced by members of

  the Class concerning the instant controversies.

  548.       It is desirable to concentrate this litigation in this forum because the relevant

  employment of Ms. Beltran and Ms. Mapledoram occurred in this jurisdiction, and

  proceedings have been pending in this jurisdiction since in or about 2014. At the time

  this lawsuit was filed, certain of the defendants resided in this jurisdiction, as well.

  549.       This class action will not be difficult to manage due to the uniformity of claims

  among the Class Members and the susceptibility of the claims to class litigation and the

  use of representative testimony and representative documentary evidence.

  550.       The contours of the class will be easily defined by reference to Defendants

  records and government records kept for each J-1 visa issued for an au pair.

                 29 U.S.C. § 216(B) COLLECTIVE ACTION ALLEGATIONS

  551.       Plaintiffs incorporate by reference all previous paragraphs of this Complaint

  as if fully re-written herein.




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  552.      Plaintiffs bring their FLSA claims as a collective actions, pursuant to 29

  U.S.C. § 216(b), on behalf of themselves and on behalf of all other similarly situated

  current and former employees.

  553.      Written consents to be named Plaintiffs in a FLSA collective action by Mmes.

  Rascon, Jimenez, Harning and Mapledoram are attached to this Second Amended

  Complaint as Exhibit 1.

  554.      Pending any modifications necessitated by discovery, Ms. Beltran

  preliminarily defines the “InterExchange 216(b) Class” as follows:

               ALL CURRENT AND FORMER AU PAIRS FOR WHOM
               DEFENDANT INTEREXCHANGE, INC. WAS A J-1 VISA
               SPONSOR.

  555.      Pending any modifications necessitated by discovery, Ms. Hlatshaneni

  preliminarily defines the “Au Pair in America 216(b) Class” as follows:

               ALL CURRENT AND FORMER AU PAIRS FOR WHOM
               DEFENDANT AMERICAN INSTITUTE FOR FOREIGN
               STUDY DBA AU PAIR IN AMERICA WAS A J-1 VISA
               SPONSOR.

  556.      Pending any modifications necessitated by discovery, Ms. Hlatshaneni

  preliminarily defines the “Au Pair in America Sub-216(b) Class” as follows:

               ALL CURRENT AND FORMER AU PAIRS FOR WHOM
               DEFENDANT AMERICAN INSTITUTE FOR FOREIGN
               STUDY DBA AU PAIR IN AMERICA WAS A J-1 VISA
               SPONSOR AND WHO WERE NOT PAID OVERTIME FOR
               HOURS WORKED IN EXCESS OF 40 IN A WEEK FOR
               WORK PERFORMED AFTER 1/1/2015.

  557.      Pending any modifications necessitated by discovery, Mmes. Deetlefs,

  Cardenas and Rascon preliminarily define the “Cultural Care 216(b) Class” as follows:


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                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT CULTURAL CARE, INC. D/B/A CULTURAL
                CARE AU PAIR WAS A J-1 VISA SPONSOR.

  558.       Pending any modifications necessitated by discovery, Mmes. Deetlefs,

  Cardenas, and Rascon preliminarily define the “Cultural Care 216(b) Sub-Class” as

  follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT CULTURAL CARE, INC. D/B/A CULTURAL
                CARE AU PAIR WAS A J-1 VISA SPONSOR AND WHO
                WERE NOT PAID OVERTIME FOR HOURS WORKED IN
                EXCESS OF 40 IN A WEEK FOR WORK PERFORMED
                AFTER 1/1/2015.

  559.       Pending any modifications necessitated by discovery, Ms. Ivette preliminarily

  defines the “GoAuPair 216(b) Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT GOAUPAIR WAS A J-1 VISA SPONSOR.

  560.       Pending any modifications necessitated by discovery, Ms. Ivette preliminarily

  defines the “GoAuPair 216(b) Sub-Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT GOAUPAIR AND WHO WERE NOT PAID
                OVERTIME FOR HOURS WORKED IN EXCESS OF 40 IN
                A WEEK FOR WORK PERFORMED AFTER 1/1/2015.

  561.       Pending any modifications necessitated by discovery, Mmes. Jimenez and

  Harning preliminarily define the “AuPairCare 216(b) Class” as follows:

                ALL CURRENT AND FORMER AU PAIRS FOR WHOM
                DEFENDANT AUPAIRCARE WAS A J-1 VISA SPONSOR.

  562.       Pending any modifications necessitated by discovery, Mmes. Jimenez and

  Harning preliminarily define the “AuPairCare 216(b) Sub-Class” as follows:


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               ALL CURRENT AND FORMER AU PAIRS FOR WHOM
               DEFENDANT AUPAIRCARE AND WHO WERE NOT PAID
               OVERTIME FOR HOURS WORKED IN EXCESS OF 40 IN
               A WEEK FOR WORK PERFORMED AFTER 1/1/2015.

  563.      Pending any modifications necessitated by discovery, Ms. Mapledoram

  preliminarily defines the “Expert Au Pair 216(b) Class” as follows:

               ALL CURRENT AND FORMER AU PAIRS FOR WHOM
               DEFENDANT EXPERT AU PAIR WAS A J-1 VISA
               SPONSOR.

  564.      Pending any modifications necessitated by discovery, Ms. Mapledoram

  preliminarily defines the “Expert Au Pair 216(b) Sub-Class” as follows:

               ALL CURRENT AND FORMER AU PAIRS FOR WHOM
               DEFENDANT EXPERT AU PAIR AND WHO WERE NOT
               PAID OVERTIME FOR HOURS WORKED IN EXCESS OF
               40 IN A WEEK FOR WORK PERFORMED AFTER
               1/1/2015.


  565.      All potential FLSA Class Members are similarly situated to their respective

  named Plaintiffs because, among other things, they were all employees of the

  respective Defendant sponsors and, upon information and belief, all suffered from the

  same policies of the Defendant Sponsors, including:

                   i.     Failing to pay at least federal minimum wage for all hours

                          worked;

                   ii.    Failing to pay overtime for hours worked in excess of 40 in a

                          week; and

                   iii.   Illegal taking deduction and/or credits.




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        COUNT I: RESTRAINT OF TRADE IN VIOLATION OF 15 U.S.C. §§ 1 ET SEQ.

                                        Brought by:
           Plaintiffs and the Price Fixed Class against the Sponsor Defendants

  566.       Plaintiffs incorporate by reference all previous paragraphs of this Complaint

  as if fully re-written herein. As set forth above, Plaintiffs assert this count on their own

  behalf and on behalf of all other similarly situated employees pursuant to Fed. R. Civ P.

  23.

  567.       At all relevant times, the Sponsor Defendants employed Price Fixed Class

  members throughout the United States.

  568.       The conduct of the Sponsor Defendants, as described herein, substantially

  affected interstate and international commerce and caused antitrust injury.

  569.       The Sponsors directly compete with one another in attracting au pairs to work

  with them.

  570.       As a group, the Sponsors conspired and agreed to fix all of their sponsored

  standard au pairs’ weekly wages at exactly the minimum amount viewed as allowable

  under the FLSA. This fixed weekly rate was and continues to be an artificially

  depressed wage for standard au pair services. The Sponsors’ agreement to fix the

  standard au pair wage constitutes a per se violation of Section 1 of the Sherman Act.

  571.       Nevertheless, in the alternative, Plaintiffs allege that the Sponsor Defendants’

  price-fixing agreement is anticompetitive and illegal under the Rule of Reason. For

  purposes of the Rule of Reason, the relevant geographic market for the claim alleged in

  this Count is the United States, and the relevant service market consists of the services

  provided by J-1 Visa standard au pairs.

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  572.       The Sponsors’ collusive activity had and has the effect of (a) fixing the

  compensation of Plaintiffs and the Price Fixed Class at an artificially low level; (b)

  eliminating, to a substantial degree, competition for au pair labor; and (c) restraining

  trade in that au pairs are not able to negotiate their wage rates above the weekly

  stipend set by their Sponsors.

  573.       The Sponsors’ combinations and contracts to restrain trade and eliminate

  competition for au pair labor have damaged the Named Plaintiffs and the members of

  the Price Fixed Class.

  574.       As a result, Plaintiffs and those similarly situated suffered injuries and are

  entitled to treble damages, fees, and costs as set forth by law. Plaintiffs and those

  similarly situated are also entitled to injunctive relief to end the price fixing scheme, and

  to force the Defendants to take affirmative steps to correct the market.

                           COUNT II: CIVIL RICO, 18 U.S.C. 1964(C)

                                     Brought by:
     •   Ms. Beltran and the InterExchange Fraud Class against InterExchange
     •   Mmes. Deetlefs, Cardenas and Rascon and the Cultural Care Fraud Class
         against Cultural Care
     •   Ms. Hlatshaneni and the Au Pair in America Fraud Class against Au Pair in
         America
     •   Mmes. Jimenez and Harning and the AuPairCare Fraud Class against
         AuPairCare

  575.       Plaintiffs incorporate by reference all previous paragraphs of this Complaint

  as if fully re-written herein.

  576.       As set forth above, Plaintiffs assert this count on their own behalf and on

  behalf of all those similarly situated pursuant to Fed. R. Civ. P. 23.



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  577.      Defendants InterExchange, Cultural Care, Au Pair in America, and

  AuPaireCare violated RICO by violating 18 U.S.C. §§ 1962(c) and 1964(c).

  578.      InterExchange, Cultural Care, Au Pair in America, and AuPairCare engaged

  in the fraudulent schemes, acts, and misrepresentations described above, which violate

  18 U.S.C. § 1343 and 18 U.S.C. § 1351, and which constitute patterns of racketeering.

  579.      By conducting their respective Enterprises through patterns of racketeering,

  each of these Defendants has injured the au pairs sponsored by each such Defendant

  and employed by the host families comprising each such Defendant’s Enterprise.

  580.      Among other things, each of these RICO violations have caused the au pairs

  employed by the Sponsors to suffer loss of past, current, and prospective wages.

  581.      As a result, Plaintiffs and those similarly situated suffered injuries and are

  entitled to treble damages, fees, and costs as set forth by law.

   COUNT III: BREACH OF FIDUCIARY DUTY UNDER THE LAWS OF THE SEVERAL
                   STATES AND THE DISTRICT OF COLUMBIA

                                     Brought by:
     •   Ms. Beltran and the InterExchange Fraud Class against Interexchange
     •   Mmes. Deetlefs, Cardenas, and Rascon and the Cultural Care Fraud Class
         against Cultural Care
     •   Ms. Hlatshaneni and the Au Pair in America Fraud Class against Au Pair in
         America
     •   Ms Ivette and the GoAuPair Fraud Class against GoAuPair
     •   Ms. Jimenez and Harning and the AuPairCare Fraud Class against
         AuPairCare
     •   Ms. Mapledoram and the Expert Au Pair Fraud Class against Expert Au Pair

  582.      The Plaintiffs incorporate by reference all previous paragraphs of this

  Complaint as if fully re-written herein.




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  583.      As set forth above, Plaintiffs assert this count on their own behalf and on

  behalf of all those similarly situated pursuant to Fed. R. Civ. P. 23.

  584.      The Defendant Sponsors solicited and accepted a duty to act as au pairs’

  protectors, in a special relationship where the au pairs’ vulnerability to the Sponsors

  resulted in the Sponsors’ empowerment. This special relationship of trust prevented the

  au pairs from effectively protecting themselves. The Sponsors breached their duties to

  the au pairs for the reasons set out in the preceding paragraphs including setting an

  illegal wage and by misleading the au pairs to believe that the weekly wage was fixed

  by law and could not be altered. The au pairs suffered damages when they were paid

  below minimum wage, when they paid to join their respective programs, and when they

  received wages lower than they otherwise would have.

    COUNT IV: NEGLIGENT MISREPRESENTATION THE LAWS OF THE SEVERAL
                  STATES AND THE DISTRICT OF COLUMBIA

                                     Brought by:
     •   Ms. Beltran and the InterExchange Fraud Class against Interexchange
     •   Mmes. Deetlefs, Cardenas and Rascon and the Cultural Care Fraud Class
         against Cultural Care
     •   Ms. Hlatshaneni and the Au Pair in America Fraud Class against Au Pair in
         America
     •   Ms Ivette and the GoAuPair Fraud Class against GoAuPair
     •   Ms. Jimenez and Harning and the AuPairCare Fraud Class against
         AuPairCare
     •   Ms. Mapledoram and the Expert Au Pair Fraud Class against Expert Au Pair

  585.      The Plaintiffs incorporate by reference all previous paragraphs of this

  Complaint as if fully re-written herein.

  586.      As set forth above, Plaintiffs assert this count on their own behalf and on

  behalf of all those similarly situated pursuant to Fed. R. Civ. P. 23.


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  587.       In the course of their business, the Sponsors entered into special

  relationships with the vulnerable au pairs. The Sponsors made misstatements of

  material facts for the au pairs’ guidance as set forth in preceding paragraphs, including

  but not limited to the legality and set nature of the wages. The Sponsors made these

  statements in order to induce the au pairs to retain their services and agree to this low

  pay. The Sponsors failed to act with due care or competence when obtaining and

  relaying this information and had a duty to know that the information could not be true.

  The au pairs, as vulnerable foreigner workers, reasonably and justifiably relied on the

  deceptive, incorrect, and false statements, when they reasonably believed that the

  wages were fixed by law and could not be altered. They suffered damages when they

  were paid below minimum wage, when they paid to join their respective programs, and

  when they received wages lower than they otherwise would have.

    COUNT V: CONSTRUCTIVE FRAUD OR FRAUDULENT CONCEALMENT UNDER
      THE LAWS OF THE SEVERAL STATES AND THE DISTRICT OF COLUMBIA

                                     Brought by:
     •   Ms. Beltran and the InterExchange Fraud Class against Interexchange
     •   Mmes. Deetlefs, Cardenas and Rascon and the Cultural Care Fraud Class
         against Cultural Care
     •   Ms. Hlatshaneni and the Au Pair in America Fraud Class against Au Pair in
         America
     •   Ms Ivette and the GoAuPair Fraud Class against GoAuPair
     •   Ms. Jimenez and Harning and the AuPairCare Fraud Class against
         AuPairCare
     •   Ms. Mapledoram and the Expert Au Pair Fraud Class against Expert Au Pair

  588.       Plaintiffs incorporate by reference all previous paragraphs of this Complaint

  as if fully re-written herein.




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  589.       As set forth above, Plaintiffs assert this count on their own behalf and on

  behalf of all those similarly situated pursuant to Fed. R. Civ. P. 23.

  590.       The Sponsors were in a superior position of knowledge to know facts related

  to the au pair wage and held themselves out to have special knowledge of wage rules

  for au pairs. The sponsors had a duty to know that the $195.75 weekly wage could be

  illegal. The Sponsors, with the intent to get the au pairs to sign up at an exact wage of

  $195.75, failed to disclose this fact, knowing that the au pairs were ignorant of U.S.

  labor laws. The au pairs were in a markedly inferior position to know labor laws, and

  justly relied upon the statements of fact to reasonably believe that the wage was fixed in

  law and could not be altered. They suffered damages when they were paid below

  minimum wage, when they paid to join their respective programs, and when they

  received wages lower than they otherwise would have.

      COUNT VI: CONSUMER PROTECTION UNDER THE LAWS OF THE SEVERAL
                   STATES AND THE DISTRICT OF COLUMBIA

                                     Brought by:
  •   Ms. Beltran and the InterExchange Fraud Class against Interexchange
  •   Mmes. Deetlefs, Cardenas and Rascon and the Cultural Care Fraud Class
      against Cultural Care
  •   Ms. Hlatshaneni and the Au Pair in America Fraud Class against Au Pair in
      America
  •   Ms Ivette and the GoAuPair Fraud Class against GoAuPair
      • Ms. Jimenez and Harning and the AuPairCare Fraud Class against
         AuPairCare
      • Ms. Mapledoram and the Expert Au Pair Fraud Class against Expert Au Pair

  591.       Plaintiffs incorporate by reference all previous paragraphs of this Complaint

  as if fully re-written herein.




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  592.       As set forth above, Plaintiffs assert this count on their own behalf and on

  behalf of all those similarly situated pursuant to Fed. R. Civ. P. 23.

  593.       The Sponsors’ deception as described above constitutes an unfair trade

  practice in violation of the consumer protection acts of the several states and the District

  of Columbia. The au pairs were consumers of the Sponsors’ services. The Sponsors,

  acting from within the several States, tricked the au pairs to sign up for their programs

  based on false and misleading representations about the wage. The Sponsors knew or

  recklessly disregarded the falsity of their statements in order to induce the au pairs to

  trust them pay for their services in return for suppressed wages, and because of the

  differences in sophistication the misrepresentations were unconscionable. The au pairs

  justifiably relied on the Sponsors’ statements. The au pairs suffered damages when

  they paid for the programs and received suppressed wages.

    COUNT VIII: FAILURE TO PAY MINIMUM WAGE AND OVERTIME IN VIOLATION
        OF THE FAIR LABOR STANDARDS ACT, 29 U.S.C. §§ 201 ET SEQ.

                                      Brought by:
     •   Ms. Beltran and the InterExchange 216(b) Class against InterExchange and
         the Noonans
     •   Mmes. Deetlefs, Cardenas, and Rascon, the Cultural Care 216(b) Class and
         the Cultural Care 216(b) Sub-Class against Cultural Care.
     •   Ms. Hlatshaneni, the Au Pair in America 216(b) Class, and the Au Pair in
         America 216(b) Sub-Class against Au Pair in America.
     •   Ms Ivette, the GoAuPair 216(b) Class, and GoAuPair 216(b) Sub-Class
         against Au Pair in America.
     •   Mmes. Jimenez and Harning, the AuPairCare 216(b) Class and the
         AuPairCare 216(b) Sub-Class against AuPairCare
     •   Ms. Mapledoram, the Expert Au Pair 216(b) Class, and the Expert Au Pair
         216(b) Sub-Class against Expert Au Pair.

  594.       Plaintiffs incorporate by reference all previous paragraphs of this Complaint

  as if fully re-written herein.

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  595.      As set forth above, Plaintiffs assert this count on their own behalf and on

  behalf their respective 216(b) classes and 216(b) sub-classes.

  596.      The named Plaintiffs and those similarly situated are covered by the FLSA as

  domestic service workers.

  597.      On information and belief, each of the Sponsors named in this count had

  annual revenues in excess of $500,000 or were members of enterprises with revenues

  in excess of $500,000.

  598.      Based on the nature of the operations of Defendants InterExchange, Cultural

  Care, Au Pair in America, GoAuPair, AuPairCare and Expert Au Pair, which included

  recruiting workers from foreign countries, transporting them to the United States,

  training them, employing them, and monitoring them, at all relevant times, Defendant

  Interexchange had two or more employees that handled goods or materials that had

  been moved in or produced for interstate commerce, including computers and

  telephones.

  599.      The named Plaintiffs and all others similarly situated were “employees” as

  that term is defined by the FLSA 29 U.S.C § 203 (e) because they were employed by

  their respective Sponsors.

  600.      InterExchange, Cultural Care, Au Pair in America, GoAuPair, AuPairCare and

  Expert Au Pair suffered and permitted the named Plaintiffs and all other similarly

  situated au pairs to work because it controlled their recruitment, had the ability to

  terminate participation in the program, trained them, maintained their records, controlled




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  where they worked, the dates of employment, set the terms of their employment

  contracts, and set their wage rates.

  601.      InterExchange, Cultural Care, Au Pair in America, GoAuPair, AuPairCare and

  Expert Au Pair violated the FLSA when they failed to pay at least minimum wage for all

  hours worked by the named Plaintiffs and all others similarly-situated employees.

  602.      InterExchange, Cultural Care, Au Pair in America, GoAuPair, AuPairCare and

  Expert Au Pair also violated the FLSA by failing to pay overtime to the named Plaintiffs

  and all others similarly-situated employees.

  603.      Defendants’ violations of the FLSA were willful under 29 U.S.C. 255 (a)

  because they knew or should have known that the named Plaintiffs and all others

  similarly situated were entitled to minimum wage and overtime under FLSA, and/or,

  upon information and belief, they failed to make adequate inquiry regarding whether the

  named Plaintiffs and others similarly situated were covered by the FLSA.

  604.      The named Plaintiffs and all others similarly situated are entitled to recover

  unpaid minimum wage, overtime, illegal deductions and/or credits, the costs incurred

  primarily for the benefit of the employer, liquidated damages, attorneys’ fees, costs, and

  post-judgment interest. 29 U.S.C. §§ 201 et seq.




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      COUNT IX: CLAIMS FOR UNPAID WAGES UNDER THE LAWS OF SEVERAL
                   STATES AND THE DISTRICT OF COLUMBIA

                                     Brought by:
     •   Ms. Beltran and the InterExchange National Wage Class against
         InterExchange.
     •   Mmes. Deetlefs, Cardenas, and Rascon, and the Cultural Care National
         Wage Class against Cultural Care.
     •   Ms. Hlatshaneni and the Au Pair in America National Wage Class against
         Au Pair in America.
     •   Ms Ivette and the GoAuPair National Wage Class against GoAuPair.
     •   Mmes. Jimenez and Harning and the AuPairCare National Wage Class
         against AuPairCare.
     •   Ms. Mapledoram and the Expert Au Pair National Wage Class against
         Expert Au Pair.

  605.       Plaintiffs incorporate by reference all previous paragraphs of this Complaint

  as if fully re-written herein.

  606.       As set forth above, Plaintiffs assert this count on their own behalf and on

  behalf of all those similarly situated pursuant to Fed. R. Civ. P. 23.

  607.       Defendants InterExchange, Cultural Care, Au Pair in America, GoAuPair,

  AuPairCare and Expert Au Pair failed to pay the named Plaintiffs and those similarly

  situated all wages owed under the laws of the various states where the named Plaintiffs

  and those similarly situated worked as au pairs, including statutorily required minimum

  wage and overtime.

  608.       Many states, including Colorado, California, and Massachusetts have

  constitutional provisions, statutes, rules, regulations, and/or other laws that require a

  payment in excess of the FLSA minimum wage.

  609.       Plaintiffs and those similarly situated are entitled to unpaid wages under these

  various laws.


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  610.       Because the wage term in the employment contracts was illegal, Plaintiffs and

  those similarly situated are entitled to recover their unpaid wages in quantum meruit,

  i.e., the difference between the amount paid for au pair services and the reasonable

  value of those services.

  611.       At a minimum, Plaintiffs and those similarly situated are entitled to unpaid

  minimum wage for each hour they worked under the various applicable state, district, or

  local laws.

  612.       The refusal to pay the lawful wages caused damages. These damages in

  most cases can be ascertained by simple arithmetic.

  613.       Plaintiffs and those similarly situated are entitled to compensation and any

  statutory damages and attorney’s fees and interest as allowed under the various laws.

                    COUNT X: VIOLATIONS OF NEW YORK WAGE ACT

                                     Brought by:
     •   Ms. Beltran and the InterExchange New York Wage Class against
         InterExchange.
     •   Mmes. Deetlefs, Cardenas, and Rascon and the Cultural Care New York
         Wage Class against Cultural Care.
     •   Ms. Hlatshaneni and the Au Pair in America New York Wage Class against
         Au Pair in America.
     •   Ms Ivette and the GoAuPair New York Wage Class against GoAuPair.

  614.       Plaintiffs incorporate by reference all previous paragraphs of this Complaint

  as if fully re-written herein.

  615.       As set forth above, Plaintiffs assert this count on their own behalf and on

  behalf of all those similarly situated pursuant to Fed. R. Civ. P. 23.




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  616.       Defendants InterExchange, Cultural Care, and Au Pair in America failed to

  pay the Plaintiffs and those similarly situated consistent with New York law, including

  failing to pay them at least New York minimum wage for all hours worked.

  617.       The unpaid work includes unpaid training time. Plaintiffs and those similarly

  situated to spend approximately one week training in New York and did not pay

  anything for this week of work.

  618.       This “training” is compensable as work under the New York law because the

  training was mandatory, the au pairs acted under the Defendants’ direction and control,

  and the training primarily benefited the Defendants as the workers were guaranteed a

  job with their respective sponsors at the end of the training, and were not free to work at

  a different employer than prearranged.

  619.       Plaintiffs and those similarly situated have the right to recovery under New

  York Code Article 6 - § 190 et seq.., including statutory damages of 25%, interest, and

  attorneys’ fees and costs.

                   COUNT XI: VIOLATIONS OF NEW JERSEY WAGE ACT

                                         Brought by:

     •   Mmes. Jimenez and Harning, and the AuPairCare National Wage Class
         against Defendant AuPairCare

  620.       Plaintiffs incorporate by reference all previous paragraphs of this Complaint

  as if fully re-written herein.

  621.       As set forth above, Plaintiffs assert this count on their own behalf and on

  behalf of all those similarly situated pursuant to Fed. R. Civ. P. 23.



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  622.       Defendant AuPairCare failed to pay the Plaintiffs and those similarly situated

  consistent with New Jersey law, including failing to pay them at least New Jersey

  minimum wage for all hours worked.

  623.       The unpaid work includes unpaid training time. Defendant required Plaintiffs

  and those similarly situated to spend approximately one week training in New Jersey

  and did not pay anything for this week of work.

  624.       This “training” is compensable as work under the New Jersey law because

  the training was mandatory, the au pairs acted under the Defendant’s direction and

  control, and the training primarily benefited the Defendant as the workers were

  guaranteed a job with their respective sponsors at the end of the training, and were not

  free to work at a different employer than prearranged.

  625.       Plaintiffs and those similarly situated have the right to recovery under New

  Jersey wage and hour law, including N.J.S.A. 34:11-57 to -67 and associated

  regulations, including any applicable penalties, interest, attorneys’ fees and costs.



                                 DEMAND FOR JURY TRIAL

  626.       Plaintiffs and those similarly situated demand a trial by jury for all issues so

  triable.

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully request that judgment be entered in their

         favor and in favor of those similarly situated as follows:




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           a. Certifying and maintaining this action as a class action, with Plaintiffs as

                designated class representatives and with their counsel appointed as

                class counsel;

           b. Certifying and maintaining this action as a collective action under 29

                U.S.C § 216(b), and providing appropriate notice of this suit and the

                opportunity to opt into the action be provided to all potential members of

                the 216(b) classes;

           c. Declaring Defendants in violation of each of the counts set forth above;

           d. Awarding treble damages for antitrust injuries to Plaintiffs and those

                similarly situated;

           e. Awarding treble damages for RICO injuries to Plaintiffs and those similarly

                situated;

           f. Awarding Plaintiffs and those similarly situated compensatory and punitive

                damages on Counts III, IV, V, VI, and VII;

           g. Awarding Plaintiffs and those similarly situated unpaid minimum wage and

                overtime as permitted by law;

           h. Awarding Plaintiffs and those similarly situated liquidated damages,

                attorney’s fees, and post-judgment interest pursuant to 29 U.S.C. §216(b);

           i.   Awarding Plaintiffs and those similarly situated unpaid wages, statutory

                penalties, and attorney’s fees pursuant to the laws of the several states;

           j.   Awarding Plaintiffs and the New York wage class unpaid wages, statutory

                penalties, and attorney’s fees pursuant to the New York Wage Act;


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           k. Awarding the Named Plaintiffs a service award;

           l.   Awarding Plaintiffs and those similarly situated reimbursement for costs

                incurred in applying for and traveling to au pair jobs;

           m. Awarding pre-judgment, post-judgment, and statutory interest;

           n. Awarding attorneys’ fees;

           o. Awarding costs;

           p. Ordering equitable relief, including a judicial determination of the rights

                and responsibilities of the parties;

           q. Awarding such other and further relief as the Court may deem just and

                proper.

  Dated: August 15, 2016

                                                 Respectfully Submitted,


                                                 s/Alexander Hood
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